Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 1 of 100




   EXHIBIT 5
         Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 2 of 100



                                                  Law OFFICES
                                       KRAMON & GRAHAM, P.A.
                                                 ONE SouTH STREET
                                                    Suite 2600

                                     BALTIMORE, MARYLAND 21202-3201
                                            TELEPHONE:   (410) 752-6030
Ezra S. GOLLOGLY                             FACSIMILE: (410) 539-1269                            E-MAIL
                                                                                            egollogly@kg-law.com
    ADMITTED IN MD                          www.kramonandgraham.com                        DIRECT FACSIMILE
                                                                                             (410) 361-8233




                                              January 7, 2022

BY ELECTRONIC MAIL AND CERTIFIED U.S. MAIL-RRR

Martee Stokes                                             Karen A. Tribik
AXIS                                                      Karen.A.Tribik@marsh.com
10000 Avalon Boulevard                                    Marsh Advisory, Claims Solutions
Suite 200                                                 445 South Street, Suite 210, Morristown, NJ
Alpharetta, GA 30009                                      07962
martee.stokes@axiscapital.com

Atlas West End Silver Hill LLC
Attn: Jeff S. Wainwright
2200 Pennsylvania Ave., NW, Fl. 4
Washington, DC 20037

           Re:       Wayne Padmore, et al. v. Atlas West End Silver Hill, LLC, et al.,
                     Circuit Court for Prince George’s County Case No. CAL20-14812
                     (AXIS File No. C-019-000012089)

All:

        I write to let you know that Twin City Fire Insurance Company and Hartford Casualty
Insurance Company (collectively, “Hartford”) have retained our firm as coverage counsel for this
matter, which is scheduled for mediation on January 13, 2022.
        At the mediation, Hartford will be looking to AXIS, Atlas' umbrella/excess carrier, and
Atlas to assume primary responsibility for Hartford’s insured, Gates Hudson & Associates Inc., in
connection with any settlement offer.
           The Property Management Agreement between Atlas and Gates Hudson provides, at
¶ 8(c):
                 Manager’s [Gates Hudson’s] liability policies required hereunder shall list
                 Owner [Atlas] as an additional insured. All of Owner’s [Atlas’] insurance
                 policies required hereunder shall name Manager [Gates Hudson] as an


22103/0/03868671.DOCXv1




                                                                                                                   AXIS000246
        Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 3 of 100



               additional insured and provide for forty five (45) days’ prior written notice
               to Manager of cancellation or non-renewal. Owner’s [Atlas’] property and
               liability policies are primary and non-contributory.
(Emphasis added.) The Owner’s required insurance policies, under ¶ 8(a), include general liability
insurance with minimum limits of $1,000,000 per occurrence, and $2,000,000 aggregate; and
umbrella liability insurance with minimum limits of $10,000,000 per occurrence and in the
aggregate. Paragraph 8’s insurance requirements are in addition to the indemnification provisions
in ¶ 7.
        Consistent with ¶ 8(c), Hartford’s Real Estate Property Managed endorsement provides:
“With respect to your liability arising out of your management of property for which you are acting
as real estate manager, this insurance is excess over any other valid and collectible insurance
available to you, whether such insurance is primary or excess.”
         AXIS recognized its obligations, as reflected in the attached email exchange from
September 2020, but it has not taken any steps to defend Gates Hudson and its employees. We
expect AXIS to assume the primary indemnity obligation for Atlas at the January 13 mediation, to
assume the defense of Gates Hudson and its employees, and to reimburse Hartford for all fees and
costs it has incurred to defend Gates Hudson and its employees.
        Finally, Hartford requests that AXIS, Marsh, and/or Atlas immediately forward all of
Atlas’ primary, umbrella, and/or excess liability policies available for this loss.
       This letter is without prejudice to Hartford’s rights, including but not limited to its
reservation of the right to deny coverage for the lawsuit.
          Please contact me if you have any questions.
                                                 Sincerely,
                                                 /s/ Ezra S. Gollogly
                                                 Ezra S. Gollogly


Enclosure
cc:       Steven M. Klepper




22103/0/03868671.DOCXv1




                                                                                                      AXIS000247
                Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 4 of 100




From: Tribik, Karen A <Karen.A.Tribik@marsh.com>
Sent: Thursday, September 10, 2020 8:58 AM
To: Stokes, Martee (Contractor) <martee.stokes@axiscapital.com>; Margiotta, Paul N <Paul.N.Margiotta@marsh.com>
Cc: Dan O'Leary <dan@preferins.com>
Subject: RE: Marsh Client: Atlas Real Estate Partners, LLC / AXIS FILE NUMBER: C-019-000012089 / Claimant : Elizabeth
Jarrell & Wayne Padmore - Residences at Silver Hill Lawsuit

Martee,

I’m the claims advocate at Marsh working on the Atlas account.

I’ve read the property management agreement, and as Paul mentions Atlas is to indemnify Gates Hudson the property
manager. If you would provide defense counsel’s contact information. Also, please confirm that the suit has been
answered on behalf of Atlas/Gates or an extension has been requested.

Thanks,
Karen

Karen Tribik l Claims Advocacy Professional
Marsh Advisory, Claims Solutions
445 South Street, Suite 210, Morristown, NJ 07962
Direct: 862-812-9584 l Fax: 973.401.5165
Email: Karen.a.Tribik@marsh.com




From: Stokes, Martee (Contractor) <martee.stokes@axiscapital.com>
Sent: Wednesday, September 9, 2020 5:06 PM
To: Margiotta, Paul N <Paul.N.Margiotta@marsh.com>
Cc: Tribik, Karen A <Karen.A.Tribik@marsh.com>; Dan O'Leary <dan@preferins.com>
Subject: RE: Marsh Client: Atlas Real Estate Partners, LLC / AXIS FILE NUMBER: C-019-000012089 / Claimant : Elizabeth
Jarrell & Wayne Padmore - Residences at Silver Hill Lawsuit

Hi Paul – thanks for your reply. I believe that there is a provision in the Agreement requiring the Manager to indemnity
and afford additional insurance status to the Owner. However, in view of your reply, I will take a second look. Thanks
for forwarding this on to Dan O’Leary as we do need to have Gates Hudson & Associates’ carrier involved in review of
the complaint.

Dan – please give me a call at your earliest.

Best Regards,
                                                            1




                                                                                                                  AXIS000248
                    Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 5 of 100

Martee

Martee Stokes, CPCU CCLA
Contractor

martee.stokes@axiscapital.com
T: 678-746-9000
D: 678-746-9422
F: 678-746-9315




10000 Avalon Boulevard
Suite 200
Alpharetta, GA 30009
axiscapital.com
Rated “A” by Standard & Poor’s and
“A+” by A.M. Best for Financial Strength




At AXIS, we routinely collect and use personal information about individuals, including insured persons,
claimants or business partners. We take our responsibilities to handle your personal data with care very
seriously and protecting the privacy of your personal data is of great importance to us. In this Privacy Notice, we
want you to understand when, why and how we collect and use personal information about you, your rights
regarding this information, the conditions under which we may disclose it to others and how we keep it secure.


From: Margiotta, Paul N <Paul.N.Margiotta@marsh.com>
Sent: Wednesday, September 9, 2020 4:58 PM
To: Stokes, Martee (Contractor) <martee.stokes@axiscapital.com>
Cc: Tribik, Karen A <Karen.A.Tribik@marsh.com>; Dan O'Leary <dan@preferins.com>
Subject: RE: Marsh Client: Atlas Real Estate Partners, LLC / AXIS FILE NUMBER: C-019-000012089 / Claimant : Elizabeth
Jarrell & Wayne Padmore - Residences at Silver Hill Lawsuit




 WARNING: Email originated from outside the AXIS organization.




Martee,

Thanks for the response and timeline of events below. Just to clarify, Marsh is the broker for Atlas Real Estate Partners,
LLC. The name Atlas West End Silver Hill LLC is a named insured under Atlas Real Estate Partners, LLC, not under Gates
Hudson & Associates policy. It is the opposite of what you are saying. Per the property management agreement, Atlas
West End Silver Hill LLC should be providing defense costs and indemnity for Gates Hudson & Associates. Please also see
responses below in red.

Regards,

                                                            2




                                                                                                                  AXIS000249
               Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 6 of 100

Paul Margiotta, Vice President
Account Executive
1166 Avenue of the Americas, New York, NY 10036
Office +1 212 345 8043 | Mobile + 1 917 854 9607 | Fax +1 212 948 0668
Paul.N.Margiotta@marsh.com
www.marsh.com | Marsh USA


if       Mi \ R S           LEADERSHIP, KNOWLEDGE, SOLUTIONS, .WORLOWIDE




From: Stokes, Martee (Contractor) <martee.stokes@axiscapital.com>
Sent: Wednesday, September 09, 2020 4:43 PM
To: Margiotta, Paul N <Paul.N.Margiotta@marsh.com>
Cc: Tribik, Karen A <Karen.A.Tribik@marsh.com>
Subject: RE: Marsh Client: Atlas Real Estate Partners, LLC / AXIS FILE NUMBER: C-019-000012089 / Claimant : Elizabeth
Jarrell & Wayne Padmore - Residences at Silver Hill Lawsuit

Hello Paul,

By way of status, I left another voicemail for Danielle Serrano this afternoon.

I have referred the summons and complaint to Defense Counsel for conflict check while AXIS continues its review of
coverage.

AXIS is diligently reviewing this matter, however we respectfully bring to your attention that this lawsuit was served on
August 13. AXIS did not receive the suit for review of coverage until September 1. We note that Atlas Silver Hill LLC is
an additional insured under the Gates Hudson & Associates policy, according to the Property Management
Agreement. Please tender the Complaint to Gates Hudson & Associates carrier for review of coverage.

Meanwhile, kindly respond as to whether you are able to clarify

     (1) whether Marsh is the broker for both Atlas Real Estate and Gates Hudson & Associates; Only Atlas Real Estate –
         here is the contact information for the Gates Hudson broker if needed (also copied).
         Dan O’Leary
         Partner
         Preferred Insurance Services Inc
         1602 Village Market Boulevard SE, Suite 210
          Leesburg VA 20175
         Direct (703) 667-5953
         Cell (703) 309-9938
         Fax 703-359-5915
        dan@preferins.com

     (2) has Gates Hudson & Associates reported this claim to its own professional liability, GL and Umbrella/Excess; if
         so, please provide carrier claim numbers and contact information; unsure, copying Dan O’Leary for response
     (3) provide a name and email/telephone contact for Atlas Real Estate.
         Joe Stampone
         646-863-0912
         jstampone@atlasrep.com

Thank you,

                                                              3




                                                                                                                   AXIS000250
                    Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 7 of 100

Martee

Martee Stokes, CPCU CCLA
Contractor

martee.stokes@axiscapital.com
T: 678-746-9000
D: 678-746-9422
F: 678-746-9315




10000 Avalon Boulevard
Suite 200
Alpharetta, GA 30009
axiscapital.com
Rated “A” by Standard & Poor’s and
“A+” by A.M. Best for Financial Strength




At AXIS, we routinely collect and use personal information about individuals, including insured persons,
claimants or business partners. We take our responsibilities to handle your personal data with care very
seriously and protecting the privacy of your personal data is of great importance to us. In this Privacy Notice, we
want you to understand when, why and how we collect and use personal information about you, your rights
regarding this information, the conditions under which we may disclose it to others and how we keep it secure.


From: Margiotta, Paul N <Paul.N.Margiotta@marsh.com>
Sent: Wednesday, September 9, 2020 4:19 PM
To: Stokes, Martee (Contractor) <martee.stokes@axiscapital.com>
Cc: Tribik, Karen A <Karen.A.Tribik@marsh.com>
Subject: RE: Marsh Client: Atlas Real Estate Partners, LLC / AXIS FILE NUMBER: C-019-000012089 / Claimant : Elizabeth
Jarrell & Wayne Padmore - Residences at Silver Hill Lawsuit




 WARNING: Email originated from outside the AXIS organization.




Hi Martee,

What is the latest with this claim? Is Axis providing defense cost and indemnity for the property manager (Gates
Hudson)? Can you please call Karen Tribik cc’d on this email to discuss?

Regards,

Paul Margiotta, Vice President


                                                            4




                                                                                                                   AXIS000251
                Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 8 of 100
Account Executive
1166 Avenue of the Americas, New York, NY 10036
Office +1 212 345 8043 | Mobile + 1 917 854 9607 | Fax +1 212 948 0668
Paul.N.Margiotta@marsh.com
www.marsh.com | Marsh USA


at Mi j \ R S                LEADERSHIP, KNOWLEDGE, SOLUTIONS.   WORLDWIDE




From: Danielle Serrano <dserrano@gateshudson.com>
Sent: Friday, September 04, 2020 3:21 PM
To: Matyola, Mark <Mark.Matyola@marsh.com>; martee.stokes@axiscapital.com
Cc: Margiotta, Paul N <Paul.N.Margiotta@marsh.com>; Tribik, Karen A <Karen.A.Tribik@marsh.com>
Subject: RE: Marsh Client: Atlas Real Estate Partners, LLC / AXIS FILE NUMBER: C-019-000012089 / Claimant : Elizabeth
Jarrell & Wayne Padmore - Residences at Silver Hill Lawsuit

Martee,

I received your voicemail, but was not able to hear your cell number. I left a voicemail on your office phone. I am happy
to call me if you can please provide your cell number.

Thank you,

Danielle Serrano
Asset Management Coordinator | Gates Hudson
3020 Hamaker Court | Suite 301 | Fairfax | Virginia | 22031
(o) 703-876-9590 ext. 272 | (f) 703-876-0548


«ti GatesHudson ‘©
REAL PARTNERS IN REAL ESTATE | GatesHudson.com
Please consider the environment before printing this email.


From: Matyola, Mark <Mark.Matyola@marsh.com>
Sent: Thursday, September 03, 2020 2:57 PM
To: martee.stokes@axiscapital.com
Cc: Danielle Serrano <dserrano@gateshudson.com>; Margiotta, Paul N <Paul.N.Margiotta@marsh.com>; Tribik, Karen A
<Karen.A.Tribik@marsh.com>
Subject: Marsh Client: Atlas Real Estate Partners, LLC / AXIS FILE NUMBER: C-019-000012089 / Claimant : Elizabeth
Jarrell & Wayne Padmore - Residences at Silver Hill Lawsuit

Hi Martee, Thank you so much for taking my call on this matter.

As I mentioned, there is a bit of a short burn on this as the suit was served on 8-13-2020, with a 30 day response date.
Also, the managing agent, Gates Hudson, is seeking defense and indemnification pursuant to the attached Property
Management Agreement. Please review as needed. I’ve cc’d Danielle Serrano at Gates Hudson to keep her in the loop.

My colleague, Karen Tribik, is the primary Casualty Claims consultant on Atlas Real Partners but she is out on PTO this
week. She will be back Tuesday after Labor Day.

Really appreciate your assistance,
Best Regards,

                                                                 5




                                                                                                                  AXIS000252
                Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 9 of 100

Mark Matyola
Senior Vice President
Global Claim Practice
445 South Street, Suite 210, Morristown, NJ 07962
+ 973 401 5009 | Fax +973 401 5165 |Cell 973 452 5681
Mark.Matyola@Marsh.com
www.marsh.com |




From: Danielle Serrano <dserrano@gateshudson.com>
Sent: Thursday, September 3, 2020 12:37 PM
To: Margiotta, Paul N <Paul.N.Margiotta@marsh.com>
Cc: Sheila Jones <sjones@gateshudson.com>; Jonathan Shymoniak <jshymoniak@gateshudson.com>; Joe Stampone
<jstampone@atlasrep.com>; Lloyd Grosklags <lgrosklags@westendcapitalgroup.com>; Matyola, Mark
<Mark.Matyola@marsh.com>
Subject: RE: Residences at Silver Hill Lawsuit

We are the managing agent. Attached is the Property Management Agreement, which states that we are indemnified.

Danielle Serrano
Asset Management Coordinator | Gates Hudson
3020 Hamaker Court | Suite 301 | Fairfax | Virginia | 22031
(o) 703-876-9590 ext. 272 | (f) 703-876-0548


«ti GatesHudson
REAL PARTNERS IN REAL ESTATE | GatesHudson.com
Please consider the environment before printing this email.


From: Margiotta, Paul N <Paul.N.Margiotta@marsh.com>
Sent: Thursday, September 03, 2020 12:33 PM
To: Danielle Serrano <dserrano@gateshudson.com>
Cc: Sheila Jones <sjones@gateshudson.com>; Jonathan Shymoniak <jshymoniak@gateshudson.com>; Joe Stampone
<jstampone@atlasrep.com>; Lloyd Grosklags <lgrosklags@westendcapitalgroup.com>; Matyola, Mark
<Mark.Matyola@marsh.com>
Subject: RE: Residences at Silver Hill Lawsuit

Hi Danielle,

I do not see Gates Hudson listed as a named insured on the policy. We do have the broad named insured endorsement
on the policy that extends coverage to partnerships, JVs, etc. Please see below.

Can you please explain the relationship between Gates Hudson and Atlas Real Estate Partners, LLC?




                                                              6




                                                                                                          AXIS000253
             Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 10 of 100


      Named Insured
      ATLAS REAL ESTATE PARTNERS, LLC

      Policy Number             Policy Period                              Effective Date
      P-001-000012089-02        07/10/2018 to 07/10/2019                   07/10/2018
      Issued by
      AXIS Insurance Company




             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                 BROAD NAMED INSURED

     This endorsement modifies insurance provided under the following:



     COMMERCIAL GENERAL LIABILITY COVERAGE FORM
     PRODUCTS/COMPLETED OPERATIONS COVERAGE FORM


     As used in this policy, the term “Named Insured” shall refer to the Named Insured in the
     Declarations and any owned or controlled company, and all corporations (including
     subsidiaries of them), partnerships, joint ventures, limited liability companies or other
     organizations or other organizations or entities as now formed or constituted, which the Named
     Insured in the Declarations has:

                   A fifty percent (50%) or more ownership interest; or
               e   Active managerial or financial control as evidenced in awritten contract or
                   agreement; or
               e   For which it is required or has agreed, pursuant to a written contract or
                   agreement, prior to a loss to maintain insurance.


Regards,

Paul Margiotta, Vice President
Account Executive
1166 Avenue of the Americas, New York, NY 10036
Office +1 212 345 8043 | Mobile + 1 917 854 9607 | Fax +1 212 948 0668
Paul.N.Margiotta@marsh.com
www.marsh.com | Marsh USA


i       Mi \ R S           LEADERSHIP. KNOWLEDGE, SOLUTIONS. ..WORLOWIDE




From: Danielle Serrano <dserrano@gateshudson.com>
Sent: Thursday, September 03, 2020 12:12 PM
                                                              7




                                                                                                      AXIS000254
                Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 11 of 100
To: Lloyd Grosklags <lgrosklags@westendcapitalgroup.com>; Margiotta, Paul N <Paul.N.Margiotta@marsh.com>; Tribik,
Karen A <Karen.A.Tribik@marsh.com>
Cc: Sheila Jones <sjones@gateshudson.com>; Jonathan Shymoniak <jshymoniak@gateshudson.com>
Subject: RE: Residences at Silver Hill Lawsuit

Thanks Lloyd.

Karen and Paul: As an answer is due soon, can someone please confirm that the insurer will be defending the Gates
Hudson entities and associates and filing a timely answer?

Thank you,

Danielle Serrano
Asset Management Coordinator | Gates Hudson
3020 Hamaker Court | Suite 301 | Fairfax | Virginia | 22031
(o) 703-876-9590 ext. 272 | (f) 703-876-0548


«ti GatesHudson
REAL PARTNERS IN REAL ESTATE | GatesHudson.com
Please consider the environment before printing this email.


From: Lloyd Grosklags <lgrosklags@westendcapitalgroup.com>
Sent: Thursday, September 03, 2020 12:07 PM
To: Danielle Serrano <dserrano@gateshudson.com>; Margiotta, Paul N <paul.n.margiotta@marsh.com>; Tribik, Karen A
<karen.a.tribik@marsh.com>
Cc: Sheila Jones <sjones@gateshudson.com>; Jonathan Shymoniak <jshymoniak@gateshudson.com>
Subject: RE: Residences at Silver Hill Lawsuit

Hey Danielle,

I cannot confirm that the carrier is indemnifying and defending Gates Hudson, but I have added Karen Tribik
and Paul Margiotta from Marsh who may be able to help clarify how this claim/defense will proceed.

Thank you!

Lloyd Grosklags
VP Asset Management
West End Capital Group

2200 Pennsylvania Ave NW | 4th Floor East | Washington, DC 20037
M: 262.707.9627
lgrosklags@westendcapitalgroup.com
On Sep 3, 2020, 11:58 AM -0400, Danielle Serrano <dserrano@gateshudson.com>, wrote:

Lloyd – can you please confirm that the carrier is indemnifying and defending Gates Hudson and will file a timely
answer? With the response deadline coming up, we don’t want to be scrambling at the last minute.



Thanks!



                                                              8




                                                                                                                AXIS000255
              Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 12 of 100
Danielle Serrano

Asset Management Coordinator | Gates Hudson

3020 Hamaker Court | Suite 301 | Fairfax | Virginia | 22031

(o) 703-876-9590 ext. 272 | (f) 703-876-0548




ti GatesHudson
REAL PARTNERS IN REAL ESTATE | GatesHudson.com

Please consider the environment before printing this email.




From: Lloyd Grosklags <lgrosklags@westendcapitalgroup.com>
Sent: Tuesday, September 01, 2020 2:28 PM
To: Danielle Serrano <dserrano@gateshudson.com>
Cc: Sheila Jones <sjones@gateshudson.com>; Jonathan Shymoniak <jshymoniak@gateshudson.com>
Subject: RE: Residences at Silver Hill Lawsuit




Hey Danielle,

Marsh has provided the following this afternoon:

CLAIMANT: Padmore, Wayne & Jarrell, Elizabeth
MARSH FILE NUMBER: 20NYC_356498

I’ll let you know any additional information I receive.

Lloyd



Lloyd Grosklags
VP Asset Management
West End Capital Group

2200 Pennsylvania Ave NW | 4th Floor East | Washington, DC 20037
M: 262.707.9627
lgrosklags@westendcapitalgroup.com

On Aug 31, 2020, 9:54 AM -0400, Danielle Serrano <dserrano@gateshudson.com>, wrote:

Good morning Lloyd,


                                                              9




                                                                                             AXIS000256
             Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 13 of 100


It is my understanding that the property indemnifies Gates Hudson, so the carrier should represent both the
property and Gates Hudson. The insurance carrier will request a copy of our management agreement to confirm,
which I have attached.



Can you please confirm with me once you hear back from the carrier? We have to respond by 9/12/20.



Thank you,



Danielle Serrano

Asset Management Coordinator | Gates Hudson

3020 Hamaker Court | Suite 301 | Fairfax | Virginia | 22031

(o) 703-876-9590 ext. 272 | (f) 703-876-0548




ti GatesHudson
REAL PARTNERS IN REAL ESTATE | GatesHudson.com

Please consider the environment before printing this email.




From: Lloyd Grosklags <lgrosklags@westendcapitalgroup.com>
Sent: Sunday, August 30, 2020 3:03 PM
To: Danielle Serrano <dserrano@gateshudson.com>
Cc: Sheila Jones <sjones@gateshudson.com>; Jonathan Shymoniak <jshymoniak@gateshudson.com>
Subject: Re: Residences at Silver Hill Lawsuit




Hi Danielle,

I can indeed forward this along to our insurance carrier - however, I don’t believe they will be representing
Gates Hudson or the two site employees but rather will be representing Atlas West End Silver Hill LLC.
Does this coincide with what you would expect in this scenario?

Thank you!


                                                              10




                                                                                                         AXIS000257
            Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 14 of 100
Lloyd Grosklags
VP Asset Management
West End Capital Group

2200 Pennsylvania Ave NW | 4th Floor East | Washington, DC 20037
M: 262.707.9627
lgrosklags@westendcapitalgroup.com

On Aug 14, 2020, 11:29 AM -0400, Danielle Serrano <dserrano@gateshudson.com>, wrote:

Good morning Lloyd,



Please see attached a Complaint and Discovery for Silver Hill that was served on 8/13/20. This stems from
a carbon monoxide leak that occurred in January 2019. Can you please forward to the carrier, as a response
is required within 30 days of the date we were served. It’s likely there is already a claim established for
this incident, as we did receive an attorney letter in February 2019. Gates Hudson and two of our
employees are listed as defendants, so I would like to have confirmation that the attorney assigned to this
claim will also be representing all parties listed as defendants.



Please let me know if you have any questions.



Thank you,



Danielle Serrano

Asset Management Coordinator | Gates Hudson

3020 Hamaker Court | Suite 301 | Fairfax | Virginia | 22031

(o) 703-876-9590 ext. 272 | (f) 703-876-0548




ti GatesHudson
REAL PARTNERS IN REAL ESTATE | GatesHudson.com

Please consider the environment before printing this email.




                                                              11




                                                                                                     AXIS000258
              Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 15 of 100


**********************************************************************
This e-mail, including any attachments that accompany it, may contain
information that is confidential or privileged. This e-mail is
intended solely for the use of the individual(s) to whom it was intended to be
addressed. If you have received this e-mail and are not an intended recipient,
any disclosure, distribution, copying or other use or
retention of this email or information contained within it are prohibited.
If you have received this email in error, please immediately
reply to the sender via e-mail and also permanently
delete all copies of the original message together with any of its attachments
from your computer or device.
**********************************************************************




**********************************************************************
This e-mail, including any attachments that accompany it, may contain
information that is confidential or privileged. This e-mail is
intended solely for the use of the individual(s) to whom it was intended to be
addressed. If you have received this e-mail and are not an intended recipient,
any disclosure, distribution, copying or other use or
retention of this email or information contained within it are prohibited.
If you have received this email in error, please immediately
reply to the sender via e-mail and also permanently
delete all copies of the original message together with any of its attachments
from your computer or device.
**********************************************************************




**********************************************************************
This e-mail, including any attachments that accompany it, may contain
information that is confidential or privileged. This e-mail is
intended solely for the use of the individual(s) to whom it was intended to be
addressed. If you have received this e-mail and are not an intended recipient,
any disclosure, distribution, copying or other use or
retention of this email or information contained within it are prohibited.
If you have received this email in error, please immediately
reply to the sender via e-mail and also permanently
delete all copies of the original message together with any of its attachments
from your computer or device.
**********************************************************************




**********************************************************************
This e-mail, including any attachments that accompany it, may contain
information that is confidential or privileged. This e-mail is
intended solely for the use of the individual(s) to whom it was intended to be
addressed. If you have received this e-mail and are not an intended recipient,
any disclosure, distribution, copying or other use or
retention of this email or information contained within it are prohibited.
If you have received this email in error, please immediately
reply to the sender via e-mail and also permanently
delete all copies of the original message together with any of its attachments
                                                            12




                                                                                   AXIS000259
                Case 1:22-cv-00769-BAH Document 70-8 Filed 02/14/24 Page 16 of 100
from your computer or device.
**********************************************************************
**************************************************************************************************
****
This communication, including attachments, is for the exclusive use of addressee and may contain proprietary,
confidential and/or privileged information. If you are not the intended recipient, any use, copying, disclosure,
dissemination or distribution is strictly prohibited. If you are not the intended recipient, please notify the sender
immediately by return e-mail, delete this communication and destroy all copies.

**************************************************************************************************
****
This communication is from a law firm and may contain confidential or privileged information. Unauthorized retention,
disclosure, or use of this information is prohibited and may be unlawful under 18 U.S.C. §§ 2510-2521. Accordingly, if
this email has been sent to you in error, please contact the sender by reply email or by phone at 410-752-6030.




                                                                    13




                                                                                                              AXIS000260
(Page 2   of     85)


                   Case
                 Case    1:22-cv-00030-DLBDocument
                      1:22-cv-00769-BAH    Document70-8
                                                    4-1 Filed
                                                        Filed 02/14/24
                                                              01/07/22 Page 2
                                                                            17ofof85100

                       IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

                                                                 *
           WAYNE PADMORE, el al.

                                                                 *
                           Plaintiffs,

           vs.
                                                                         CASE NO. CAL20-14812
                                                                 *
           ATLAS WEST END SILVER HILL, LLC, et al.

                                                                 *
           and

                                                                 *
           ATLAS WEST END SILVER HILL, LLC

                                                                 *
           and

           ATLAS WEST END SILVER HILL                            *
           MANAGER, LLC
                                                                 *
           and
                                                                 *
              GATES, HUDSON & ASSOCIATES, INC.
                                                                 *
           and
                                                                 *
           ANDRE FERRELL
                                                                 *
           and
                                                                 *
           DANIELLE SAMUELS

           and

           G.A. EBERLY, LLC
                                                                 *
           7157-59 Old Alexandria Ferry Road
           Clinton MD 20735
                                                                 *


           S/O Resident Agent:
                                                                 *
           G.A. Eberly
           7157-59 Old Alexandria Ferry Road
                                                                 *
           Clinton MD 20735

                                                                 *
                           Defendants.

          *            *      *          *         *      *      *      *      *         *        *       *
                           SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

                       The Plaintiffs, Gary Young, Wayne Padmore, Elizabeth Padmore, K       P   ,Z   P       ,




                                                                                                                  AXIS000261
(Page 3   of   85)


                 Case
               Case    1:22-cv-00030-DLBDocument
                    1:22-cv-00769-BAH    Document70-8
                                                  4-1 Filed
                                                      Filed 02/14/24
                                                            01/07/22 Page 3
                                                                          18ofof85100

          T           P        and Erica Baker (hereinafter, collectively "Plaintiffs") by and through undersigned

          counsel, hereby file this Second Amended Complaint against Defendants Atlas West End Silver Hill

          LLC, Atlas West End Silver Hill Manager LLC, Gates, Hudson & Associates, Inc., Andre Ferrell,

          Danielle Samuels (hereinafter, collectively the "Property Defendants") as well as Capitol Boiler Works,

          Inc., A.O. Smith Corporation and G.A. Eberly, LLC.

                                                            PARTIES

                     1.    Gary Young is a resident of Prince George's County, Maryland.

                     2.    Wayne Padmore is a resident of Prince George's County, Maryland.

                     3.    Elizabeth Padmore is a resident of Prince George's County, Maryland.

                     4.    K       P         is a resident of Prince George's County, Maryland.

                     5.    Z   P           is a resident of Prince George's County, Maryland.

                     6.    T           P       is a resident of Prince George's County, Maryland.

                     7.    Erica Baker is a resident of Washington, D.C.

                     8.    Defendant Atlas West End Silver Hill LLC ("Atlas") is a limited liability company duly

          organized under the laws of the State of Delaware, doing business in Prince George's County, Maryland.

                     9.    Defendant Atlas is the owner of a residential apartment complex located on the corner of

          Silver Hill Road and Terrace Drive in Suitland, Maryland. The apartment complex, known as the Silver

          Hill apartment community, is comprised of several buildings, including 3529 and 3527 Terrace Drive,

          Suitland, Maryland 20746 (hereinafter the "Property"), which share a common wall.

                     10.   The 3529 Terrace Drive's main door leads to four (4) residential apartment units that are

          accessed by way of interior doors. Apartments A and B are located on the first floor and Apartments C

          and D are located on the second floor at the top of a flight of stairs.

                     11.   Apartment E in 3527 Terrace Drive is located on the basement level of the building and

          is accessed by way of a separate exterior door.


                                                                2




                                                                                                                       AXIS000262
(Page 4   of   85)


                 Case
               Case    1:22-cv-00030-DLBDocument
                    1:22-cv-00769-BAH    Document70-8
                                                  4-1 Filed
                                                      Filed 02/14/24
                                                            01/07/22 Page 4
                                                                          19ofof85100

                     12.   The Property is serviced by a fossil fuel fired boiler/hot water heater located in the

          Property's maintenance room (the Hot Water Heater), which is located on the basement level of 2529

          Terrace Drive.

                     13.   Defendant Atlas West End Silver Hill Manager LLC ("Manager") is a limited liability

          company duly organized under the laws of the State of Delaware, doing business in Prince George's

          County, Maryland.

                     14.   Al all times relevant to this Complaint, Defendant Atlas and Manager operated under an

          agreement charging Manager with the responsibility to manage the Silver Hill apartment community,

          including the Property. At all times relevant to this Complaint, Manager acted on behalf of and as agent

          for Atlas.

                     15.   Defendant Gates, Hudson & Associates, Inc. ("Gates") is a limited liability company duly

          organized under the laws of the State of Virginia, doing business in Prince George's County, Maryland

          as a property management company.

                     16.   At all times relevant to this Complaint, Defendant Gates operated under a contract with

          Atlas and/or Manager to manage and operate the day-to-day activities at the Property. At all times

          relevant to this Complaint, Gates acted on behalf of and as agent for Atlas and Manager.

                     17.   Defendant Andre Ferrell ("Mr. Ferrell") is a resident of Prince Georges County,

          Maryland.

                     18.   At all times relevant to this Complaint, Defendant Mr. Ferrell was an employee of

          Defendant Gates, serving as the Property's maintenance technician. At all times relevant to this

          Complaint, Mr. Ferrell acted on behalf of himself and as an agent of Defendants Atlas, Manager and

          Gates.

                     19.   Defendant Danielle Samuels ("Ms. Samuels") is a resident of Prince Georges County,

          Maryland.


                                                               3




                                                                                                                      AXIS000263
(Page   5   of   85)


                   Case
                 Case    1:22-cv-00030-DLBDocument
                      1:22-cv-00769-BAH    Document70-8
                                                    4-1 Filed
                                                        Filed 02/14/24
                                                              01/07/22 Page 5
                                                                            20ofof85100

                       20.   At all times relevant to this Complaint, Defendant Ms. Samuels was an employee of

            Defendant Gates, serving as the Property's manager. At all times relevant to this Complaint, Defendant

            Ms. Samuels acted on behalf of herself and as an agent of Defendants Atlas, Manager and Gates.

                       21.   Defendants Atlas, Manager, Gates, Ferrell and Samuels were responsible for the

            operation, maintenance and safety of the Hot Water Heater, flue venting, condensate line drainage,

            associated machinery and through wall penetrations located in the mechanical room of the Property.

                       22.   Further, Atlas, Manager, Gales, Ferrell and Samuels were responsible for the maintenance

            and safety of the individual apartment units located within the Property, including, but not limited to, the

            units' fire and carbon monoxide safety alarms.

                       23.   Defendant G.A. Eberly, LLC ("Eberly") is a limited liability company duly organized

            under the laws of the Maryland, doing business in Prince George's County, Maryland as a plumbing and

            heating contracting company. At all times relevant hereto, Eberly was responsible for the sale and/or

            installation of the Hot Water Heater, flue venting, condensate line drainage and associated machinery.

                       24.   Defendant Capitol Boiler Works, Inc. ("Capitol") is a limited liability company duly

            organized under the laws of the State of Virginia, doing business in Prince George's County, Maryland

            as a mechanical service and mechanical contracting company. At all times relevant hereto, Capitol was

            responsible for the maintenance and service of the Hot Water Heater, flue venting, condensate line

            drainage and associated machinery pursuant to an agreement with the Property Defendants.

                       25.   Defendant A.O. Smith ("A.O. Smith") is a corporation duly organized under the laws of

            the State of Delaware, doing business in Prince George's County, Maryland as a commercial hot water

            heater designer, manufacturer, and wholesaler.

                       26.   At all times relevant to this Complaint, Plaintiffs Wayne Padmore, Elizabeth Padmore,

            K          P     ,Z    P        , T        P         and Erica Baker resided at the Property under their

            respective lease agreements with Defendant Gates. At all times relevant to this Complaint, Plaintiff Gary


                                                                 4




                                                                                                                           AXIS000264
(Page 6   of   85)


                 Case
               Case    1:22-cv-00030-DLBDocument
                    1:22-cv-00769-BAH    Document70-8
                                                  4-1 Filed
                                                      Filed 02/14/24
                                                            01/07/22 Page 6
                                                                          21ofof85100

          Young resided at the Property as a guest.

                                               JURISDICTION AND VENUE

                     27.   This Court has jurisdiction over this matter pursuant to inter alia, the provisions of MD.

          Code Ann., Cts. & Jud. Proc. § 1-501. This Court has personal jurisdiction over the Defendants pursuant

          to; inter cilia, the provisions of MD. Code Ann. Cts. & Jud. Proc. §§ 6-102 and 6-103.

                     28.   Venue in Prince George's County Maryland is proper pursuant to, inter cilia, the

          provisions of Md. Code Ann., Cts & Jud. Proc. §§ 6-201 and 6-202.

                                          FACTS COMMON TO ALL COUNTS

                     29.   Carbon monoxide is a gas that is found in the combustion fumes that are produced when

          gas or fossil fuels are used for cooking or heating water or heating rooms. If a person inhales combustion

          fumes, his/her red blood cells will pick up the carbon monoxide more quickly than it will pick up oxygen.

          As a result, if combustion fumes and the accompanying high levels of carbon monoxide fill a room and

          are inhaled, the carbon monoxide will replace the oxygen in the individual's blood stream, damage

          tissues, including, but not limited to, organ tissues and brain cells, and eventually lead to death.

                     30.   Because carbon monoxide is colorless, tasteless and odorless, it cannot be detected

          without a carbon monoxide detector alarm.         Carbon monoxide poisoning is the leading cause of

          accidental poisoning in the United States and, as a result, many states and cities throughout the country

          have passed laws that require carbon monoxide detectors in all homes.

                     31.   In Maryland, MD. Code Ann. Pub. Safety, § 12-1101 et seq., requires that certain

          dwellings contain functioning carbon monoxide detectors. The Maryland statute allows cities and other

          municipalities to enact carbon monoxide detector laws that are more stringent than those set forth in the

          state statute.

                     32.   At all times relevant to this Complaint, Maryland state law required that the Property be

          equipped with carbon monoxide detectors: (1) outside and in the immediate vicinity of each separate


                                                               5




                                                                                                                        AXIS000265
(Page   7   of   85)


                      Case
                    Case    1:22-cv-00030-DLBDocument
                         1:22-cv-00769-BAH    Document70-8
                                                       4-1 Filed
                                                           Filed 02/14/24
                                                                 01/07/22 Page 7
                                                                               22ofof85100

            sleeping area; and (2) on every level of a unit, including the basement. § 12-1104(c) of Maryland, MD.

            Code Ann. Pub. Safety.

                       33.   Prince George's County has recognized the dangers posed by carbon monoxide in any

            dwelling that uses gas or fossil fuel for heating, cooking, hot water or clothes-drying and has mandated

            that all property owners install carbon monoxide detectors in all leased residences that uses gas or fossil

            fuel.

                       34.   Section 11-295 of the Building, Fire and Related Codes of Prince George's County (the

            "Building Code") requires that a carbon monoxide detector be provided and "must be installed near the

            access for each sleeping area in [any] dwelling," such as the Property, which "uses gas- or fossil-fuel for

            heating, cooking, hot water, or clothes-drying operations. ..."

                       35.   Carbon monoxide detectors were not properly installed in the Plaintiffs' units at the

            Property in compliance with Section 11-295 et seq. of the Building Code and/or § 12-1104(c) of

            Maryland, MD. Code Ann. Pub. Safety.

                       36.   At all times relevant to the Complaint, Property Defendants owned, operated, controlled,

            maintained and/or managed the Property and the individual apartments in which the Plaintiffs lived.

                       37.   At all times relevant to this Complaint, as owners, operators, controllers, maintainers

            and/or managers of the Property, Property Defendants were subject to the carbon monoxide alarm

            mandate of the Building Code and Maryland state law.

                       38.   Early in the week beginning January 20, 2019, some Plaintiffs began feeling ill, including

            suffering from headaches, nausea and/or fatigue.

                       39.   In the early morning hours of Thursday, January 24, 2019, a carbon monoxide detector

            located in Plaintiff Erica Baker's ("Ms. Baker") basement apartment alarmed.

                       40.   Ms. Baker called the Property's 24-hour emergency hotline and reported to Defendants

            that her carbon monoxide detector had alarmed. Shortly thereafter, Defendant Mr. Ferrell returned Ms.


                                                                 6




                                                                                                                          AXIS000266
(Page 8   of   85)


                 Case
               Case    1:22-cv-00030-DLBDocument
                    1:22-cv-00769-BAH    Document70-8
                                                  4-1 Filed
                                                      Filed 02/14/24
                                                            01/07/22 Page 8
                                                                          23ofof85100

          Baker's emergency call and falsely told Ms. Baker that the reason her carbon monoxide detector had

          alarmed was because its battery was low and that a low carbon monoxide detector battery did not amount

          to an emergency.

                     41.   During regular business hours of Thursday, January 24, 2019, Ms. Baker made a follow

          up telephone call to the Property's leasing office regarding her carbon monoxide detector having

          alarmed.

                     42.   On Thursday, January 24, 2019, hours after the detector had alerted to the presence of

          carbon monoxide, Mr. Ferrell entered Ms. Baker's apartment and changed the battery in her carbon

          monoxide detector. The Property Defendants took no steps to investigate whether carbon monoxide was

          leaking into the Property despite being on actual notice of the presence of carbon monoxide within the

          living spaces of Plaintiffs.

                     43.   On Saturday, January 26, 2019, Ms. Baker suffered from a headache. On that same day,

          January 26, 2019, the carbon monoxide detector in Ms. Baker's apartment alarmed again, whereupon

          Ms. Baker went to the Property's leasing office and reported the alarm to Defendant Ms. Samuels, an

          agent of Defendants Gates, Atlas and Manager. Also present, was the regional manager for Defendant

          Gates, Mia Smith, who is an agent of Gates.

                     44.   Mia Smith stated to Ms. Samuels that she, Ms. Samuels, needed to "follow up on this,"

          evidencing the Property Defendants' actual notice of the ongoing carbon monoxide leak within the

          Property and the hazardous condition it presented to Plaintiffs.

                     45.   Neither Danielle Samuels nor Mia Smith took any action to verify the presence of carbon

          monoxide in the Property, investigate the source of the carbon monoxide in the Property, notify the

          Prince George's County Fire Department/EMS ("PGFD") of the report of an alarmed carbon monoxide

          detector and/or evacuate the residents of the Property.

                     46.   In response to Ms. Baker reporting her carbon monoxide detector's repeated alarm,


                                                              7




                                                                                                                     AXIS000267
(Page 9   of   85)


                 Case
               Case    1:22-cv-00030-DLBDocument
                    1:22-cv-00769-BAH    Document70-8
                                                  4-1 Filed
                                                      Filed 02/14/24
                                                            01/07/22 Page 9
                                                                          24ofof85100

          Defendants elected to disable her carbon monoxide detector so that it would no longer alarm in the

          presence of carbon monoxide.

                     47.   Defendant Mr. Ferrell disabled Ms. Baker's carbon monoxide detector on Saturday,

          January 26, 2019. Mr. Ferrell, acting on behalf of himself and the Property Defendants, intentionally

          disabled the carbon monoxide detector while he knew or should have known that a carbon monoxide

          release into the Property was occurring. Further, Defendants took no action to investigate the source of

          the carbon monoxide present in Ms. Baker's apartment unit or any other area of the Property, including

          the common areas and/or individual units where Plaintiffs lived, or alert the fire department.

                     48.   On Sunday, January 27, 2019, the PGFD responded to an emergency call to the Property.

                     49.   The PGFD detected dangerous levels of carbon monoxide in the Property, including

          levels as high as 300 parts per million ("PPM").

                     50.   As a result of the dangerous elevated readings of carbon monoxide, the Property was

          evacuated.

                     51.   The PGFD determined that the source of the carbon monoxide was the Hot Water Heater

          located in the Property's mechanical room situated on the basement level of 3529 Terrace Road.

                     52.   On Sunday, January 27, 2019, Defendant Capitol responded to the Property to determine

          what caused the Hot Water Heater to emit carbon monoxide into the interior of the Property and make

          repairs.

                     53.   Capitol noted on its invoice for the January 27, 2019 service call that the Hot Water

          Heater's condensate pipe, installed for the purpose of safely draining away excess moisture, was full of

          water and not properly installed. The condensate line was improperly slopped towards the unit, causing

          water to improperly collect in the condensate pipe.

                     54.   Capitol had previously noted the defective condition of the condensate lines when it

          visited the Property for a service call on March 12, 2018, which is over ten months prior to the carbon


                                                                8




                                                                                                                     AXIS000268
(Page 10   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page10
                                                                           25ofof85
                                                                                  100

           monoxide poisoning described above.

                  55.     Despite being on actual notice of water improperly collecting in the Hot Water Heater's

           condensate line as early as March 12, 2018, Capitol did nothing to investigate the cause and/or correct

           what was causing the hazardous condition.

                  56.     While Capitol notified the Property Defendants that the Hot Water Heater's condensate

           lines were improperly filling with water in March of 2018, Property Defendants did nothing to

           investigate the cause and/or correct what was causing the condition.

                  57.     During the period of time immediately before the January 2019 carbon monoxide

           poisoning described above, excess water collected in the Hot Water Heater's condensate line froze,

           causing the Hot Water Heater's exhaust flu to become restricted and/or blocked.

                  58.     Despite having a restricted and/or blocked exhaust flu, the Hot Water Heater continued

           to run (burn fossil fuel), creating combustion gases, including deadly carbon monoxide gas.

                  59.     The restricted and/or blocked Hot Water Heater exhaust flue coupled with the running

           Hot Water Heater increased pressure in the flu to such a degree that the Hot Water Heater's flu pipe

           popped off its fitting, releasing combustion gases, including deadly carbon monoxide, into the interior

           of the Property.

                  60.     The Hot Water Heater was designed and manufactured by Defendant A.O. Smith.

                  61.     A.O. Smith represented that the Hot Water Heater was designed to have and incorporated

           certain safety features, including an electronic control system designed to detect the presence of

           operational problems with the Hot Water Heater and its flue venting, drainage and associated machinery.

                  62.     According to A.O. Smith's intended design, in the event the Hot Water Heater's control

           system detects that the Hot Water Heater's combustion gas exhaust flu is blocked or restricted, the Hot

           Water Heater will generate a "Fault/Alert" message on an exterior panel and shut the Hot Water Heater's

           fossil fuel combustion off, eliminating further creation of carbon monoxide.


                                                              9




                                                                                                                     AXIS000269
(Page 11   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page11
                                                                           26ofof85
                                                                                  100

                  63.      A "Fault/Alert" generated from a blocked or restricted exhaust flu includes messages to

           users to "ensure condensate hose is draining" and to "call a service professional."

                  64.      The presence of a "Fault/Alert" generated from a blocked or restricted combustion gas

           exhaust flu is designed to render the Hot Water Heater incapable of refiring unless and until its control

           system is reset.

                  65.      Despite the presence of a blocked and/or restricted exhaust flu the week of January 20,

           2019, the Hot Water Heater's electronic control system's safety feature failed to detect the presence of

           the restricted and/or blocked flu; failed to generate a "Fault/Alert" warning a user of the hazard; and/or

           failed to shut the Hot Water Heater off.

                  66.      Despite the PGFD's determination that carbon monoxide had migrated from the

           mechanical room and into Plaintiffs' apartment units and the Property's common areas, and that the

           source of the carbon monoxide was the Hot Water Heater, Mr. Ferrell, on behalf of Defendants, falsely

           stated to Ms. Baker that there had not been a carbon monoxide leak, attributing the Property's evacuation

           by the PGFD to a broken "steam pipe."

                  67.      For a period of at least a week, the Hot Water Heater operated and maintained by Property

           Defendants and manufactured and installed by A.O. Smith and Eberly, respectively, discharged carbon

           monoxide directly into the interior of the Property rather than discharging the combustion gasses out of

           the Property.

                  68.      Carbon monoxide migrated from the Property's mechanical room through numerous

           through wall penetrations into the Plaintiffs' residential units and throughout the Property for various

           reasons, including, but not limited to, the Property Defendants' failure to properly maintain the Hot

           Water IIeater, flue venting, condensate lines, associated machinery and through wall penetrations located

           in the mechanical room; the Property Defendants' failure to shut down the system when it became clear

           that the venting system failed, allowing carbon monoxide to escape into the Property; the Property


                                                              10




                                                                                                                        AXIS000270
(Page 12   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page12
                                                                           27ofof85
                                                                                  100

           Defendants' failure to place functioning carbon monoxide detectors in the Property in compliance with

           Maryland State law and the Building Code; Defendant Eberly's faulty installation of the Hot Water

           Heater, venting system, condensate lines and associated machinery; Defendant A.O. Smith's faulty

           design and manufacture of the Hot Water Heater and Capitol's faulty and improper maintenance of the

           Hot Water Heater, venting system, condensate lines and associated machinery.

                  69.     All Defendants' failures proximately caused Plaintiffs' carbon monoxide poisoning.

                  70.     For a period of at least a week, Plaintiffs were exposed to and inhaled high levels of

           carbon monoxide, a toxic gas.

                  71.     As a result of the carbon monoxide poisoning, Plaintiffs were treated by paramedics at

           the scene and later transported by ambulance to the hospital and, in some cases, subsequently transferred

           to University of Maryland Medical Center Shock Trauma Unit ("Shock Trauma") for medical evaluation

           and hyperbaric treatment.

                  72.     A person's carboxyhemoglobin level is a measure of the amount of carbon monoxide

           which has been absorbed into the blood stream.

                  73.     At the time the PGFD checked Plaintiff Gary Young, he had a carboxyhemoglobin level

           of 27% as well as an elevated heart rate and blood pressure. Mr. Young had become severely ill in the

           days leading up to January 27, ultimately losing consciousness that day, because of the toxic levels of

           carbon monoxide in the apartment where he slept. Mr. Young was transferred to Shock Trauma and

           treated in the facility's hyperbaric chamber.

                  74.     At the time the PGFD checked Plaintiff Wayne Padmore, he had a carboxyhemoglobin

           level of 25%. Mr. Padmore suffered from nausea, vomiting and a headache during the four (4) days

           leading up to January 27, including vomiting in front of the PGFD that day, because of the toxic levels

           of carbon monoxide in his apartment. Mr. Padmore was transferred to Shock Trauma and treated in the

           facility's hyperbaric chamber.


                                                              11




                                                                                                                       AXIS000271
(Page 13   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page13
                                                                           28ofof85
                                                                                  100

                   75.     At the time the PGFD checked Plaintiff Elizabeth Padmore, she had a carboxyhemoglobin

           level of 23%. Ms. Young had become severely ill in the days leading up to January 27 because of the

           toxic levels of carbon monoxide in her apartment. Ms. Padmore was transferred to Shock Trauma and

           treated in the facility's hyperbaric chamber.

                   76.     Twin Plaintiffs K          P             and Z    P       , both six years old at the time of the

           incident, were poisoned with carbon monoxide that had migrated into their apartment. The PGFD was

           unable to take a carboxyhemoglobin level for the twins at the time the PGFD responded to the Property,

           however, both children were tested hours later at the hospital.

                   77.     Plaintiff K        P            carboxyhemoglobin level was 3.8% at 3:53 a.m., hours after

           being evacuated from the Property. K             P           was transferred to Shock Trauma and treated in the

           facility's hyperbaric chamber.

                   78.     Plaintiff Z    P               carboxyhemoglobin level was 3.9% at 4:34 a.m., hours after

           being evacuated from the Property. Z           P            was transferred to Shock Trauma and treated in the

           facility's hyperbaric chamber.

                   79.     Plaintiff T            P           who was three years old at the time of the incident, was

           poisoned with carbon monoxide that had migrated into her apartment. The PGFD was unable to take a

           carboxyhemoglobin level for T              at the time the PGFD responded to the Property, however, she was

           tested hours later at the hospital.

                   80.     Plaintiff T            P           carboxyhemoglobin level was 3.3% at 3:49 a.m., hours after

           being evacuated from the Property. T                 P           was transferred to Shock Trauma and treated in

           the facility's hyperbaric chamber.

                   81.     At the time the PGFD checked Plaintiff Erica Baker on the night PGFD responded to the

           Property, she had a carboxyhemoglobin level of 11%. Plaintiff Erica Baker's basement level apartment

           at the Property shared a wall with a mechanical room that shared a wall with the mechanical room that


                                                                      12




                                                                                                                               AXIS000272
(Page 14   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page14
                                                                           29ofof85
                                                                                  100

           housed the Hot Water Heater. The mechanical room that housed the Hot Water Heater had numerous

           penetrations through its walls and ceiling, providing a direct path for the carbon monoxide to migrate to

           Plaintiffs' apartment units. On more than one occasion, Ms. Baker notified Defendants that a carbon

           monoxide detector located in her apartment had alarmed. On each occasion that Ms. Baker complained

           of the alarm sounding, Defendants assured her that there had not been a carbon monoxide leak and that

           there was no danger. Ms. Baker had become severely ill in the days leading up to January 27 because

           of the high levels of carbon monoxide in her apartment.

                   82.     All Plaintiffs suffered organ damage and a toxic brain injury as a result of this carbon

           monoxide poisoning, resulting in difficulty with balance, endurance, reasoning, judgment, attention,

           memory, communication and/or cognitive abilities.

                   83.     Plaintiffs suffered and continue to suffer severe and permanent njuries from carbon

           monoxide poisoning and exposure.

                                                   COUNT 1: NEGLIGENCE
                                               (Plaintiffs v. Property Defendants)
                   84.     Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                   85.     Property Defendants owed a duty to Plaintiffs as occupants, guests and/or lessees of the

           Property, to exercise reasonable care, and to provide a safe and healthy environment.

                   86.     Property Defendants breached their duty by, inter alia (a) installing and/or operating a

           venting system that did not maintain a positive air flow adequate to remove flue or vent gasses from the

           Hot Water Heater to the outside atmosphere; (b) installing or maintaining a draft system which did not

           prevent leakage of flue or vent gases into the interior of the Property; (c) failing to provide for an effective

           interlock system to prevent the flow of fuel to the Hot Water Heater when the mechanical draft system

           was not performing; (d) failing to properly inspect or maintain the Hot Water Heater so that it would



                                                                 13




                                                                                                                              AXIS000273
(Page 15   of     85)


                   Case
                  Case   1:22-cv-00030-DLB Document
                       1:22-cv-00769-BAH    Document70-8
                                                     4-1 Filed
                                                         Filed 01/07/22
                                                               02/14/24 Page
                                                                        Page15
                                                                             30ofof85
                                                                                    100

           operate without producing excessive amounts of carbon monoxide; (e) failing to properly install, inspect,

           maintain and/or repair the Hot Water Heater's vent ducts and condensate lines; (f) failing to comply with

           local and state, and/or federal laws requiring the Hot Water Heater to be interlocked so that they cannot

           operate without proven airflow; (g) failing to install carbon monoxide detectors on the premises in

           accordance with Maryland State law and the Building Code; (h) failing to comply with the Hot Water

           Heater manufacturer's maintenance and inspection instructions; (i) intentionally disabling the carbon

           monoxide detector that had alarmed to the presence of carbon monoxide in Ms. Baker's unit; (j) failing

           to investigate what caused Ms. Baker's carbon monoxide detector to alarm; and (k) failing to evacuate

           the Property after Ms. Baker's carbon monoxide detector alarmed.

                    87.   Property Defendants knew or should have known that a breach of these duties would

           result in exposing Plaintiffs to deadly levels of carbon monoxide, creating an unreasonable risk of

           physical harm to the Plaintiffs.

                    88.   A carbon monoxide detector was present on the Property, albeit not in compliance with

           state and local laws, and went off days prior to the incident in question, however, Property Defendants

           did nothing to address the level of carbon monoxide in the Property and/or stop the leakage of the deadly

           gas.

                    89.   Prior to the date of this incident, Property Defendants knew that a carbon monoxide

           detector had alarmed yet took no action to discover why the detector had alarmed, or whether carbon

           monoxide was in the Property. Instead, Property Defendants shockingly disabled the alarm, causing

           carbon monoxide to continue to seep throughout Plaintiffs' homes undetected.

                    90.   Property Defendants had a non-delegable duty to install carbon monoxide detectors in

           compliance with Maryland State law and the Building Code. Defendants knew or should have known

           that carbon monoxide detectors were installed in violation of the state and local law, presented an

           unreasonable risk to the health and safety of the Plaintiffs and social guests in the Property and created


                                                              14




                                                                                                                        AXIS000274
(Page 16   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page16
                                                                           31ofof85
                                                                                  100

           a false sense of safety for the Plaintiffs.

                   91.     Property Defendants breached their duty to the Plaintiffs by failing to supply and install

           carbon monoxide detectors in compliance with Maryland State law and the Building Code and disabling

           the carbon monoxide detector that did alarm to the presence of the deadly gas. These breaches of duty

           created an unreasonable risk of physical harm to the Plaintiffs and social guests in the Property.

                   92.     The Property Defendants knew or should have known that a breach of these duties would

           result in exposing the residents and social guests, including the Plaintiffs, to dangerous levels of carbon

           monoxide, creating an unreasonable risk of physical harm to the Plaintiffs.

                   93.     As a proximate and foreseeable result of the negligent failure to properly supply, install

           and maintain carbon monoxide detectors in compliance with state and local law, deadly carbon monoxide

           gas was introduced into the Property, where it was inhaled by the Plaintiffs, causing damages, including

           but not limited to: brain damage, organ damage, memory deficits, mental anguish, emotional pain and

           suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other injuries and damages to be proven at trial.

                   94.     The Property Defendants breached their duties owed to the Plaintiffs, and the Property

           Defendants' conduct resulted in the release of deadly carbon monoxide that physically harmed the

           Plaintiffs.

                   95.     The mechanical room, including, but not limited to, the Hot Water Heater, venting

           system, condensate lines and exhaust gas flue, were, at all times relevant hereto, under the exclusive

           control of Property Defendants.

                   96.     The release of deadly levels of carbon monoxide from the mechanical room was the type

           of accident which does not ordinarily occur unless the persons exercising control have been negligent.

                   97.     The Property Defendants' negligence was a direct and proximate cause of the Plaintiffs'


                                                               15




                                                                                                                         AXIS000275
(Page 17   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page17
                                                                           32ofof85
                                                                                  100

           permanent injuries. The Plaintiffs are entitled to recover damages including, but not limited to, pain and

           suffering, lost wages, loss of earning capacity, medical expenses and damages for all other losses and

           injuries caused by Property Defendants.

                     98.    All of these damages were the result of wrongful conduct of the Property Defendants

           without any negligence by the Plaintiffs, including the negligent failure of the Property Defendants to

           supply, install and maintain carbon monoxide detectors in compliance with state and local law.

                     99.    The above negligent acts caused Plaintiffs to suffer personal injuries and to continue to

           suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and suffering,

           depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other njuries, without any negligence on the part

           of any Plaintiff contributing thereto. All of the aforesaid damages are the result of the wrongful conduct

           by Property Defendants.

                     WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together with punitive

           damages, attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                              COUNT II: PREMISES LIABILITY
                                               (Plaintiffs v. Property Defendants)
                     100.   Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                     101.   At all times relevant to this Complaint, Plaintiffs were lawfully in their units as occupants,

           guests and/or lessees of the Property.



                                                                 16




                                                                                                                             AXIS000276
(Page 18   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page18
                                                                           33ofof85
                                                                                  100

                     102.   The Property Defendants owed a duty to Plaintiffs as occupants, guests and/or lessees of

           the Property, to inter cilia, maintain the Hot Water Heater, the mechanical room, venting system,

           condensate lines and flue system.

                     103.   Property Defendants owed a duty to provide a safe environment for their lessees and

           guests.

                     104.   Property Defendants' owed duty to provide a safe environment for lessees and guests is

           non-delegable.

                     105.   The Property Defendants breached their duty by, inter alia (a) installing and/or operating

           a venting system that did not maintain a positive air flow adequate to remove flue or vent gasses from

           the Hot Water Heater to the outside atmosphere; (b) installing or maintaining a draft system which did

           not prevent leakage of flue or vent gases into the interior of the Property; (c) failing to provide for an

           effective interlock system to prevent the flow of fuel to the Hot Water Heater when the mechanical draft

           system was not performing; (d) failing to properly inspect or maintain the Hot Water Heater so that it

           would operate without producing excessive amounts of carbon monoxide; (e) failing to properly install,

           inspect, maintain and/or repair the Hot Water Heater's vent ducts and condensate lines; (f) failing to

           comply with local and state, and/or federal laws requiring the Hot Water Heater to be interlocked so that

           they cannot operate without proven airflow; (g) failing to install carbon monoxide detectors on the

           premises in accordance with Maryland State law and the Building Code; (h) failing to comply with the

           Hot Water Heater manufacturer's maintenance and inspection instructions; (i) intentionally disabling the

           carbon monoxide detector that had alarmed to the presence of carbon monoxide in Ms. Baker's unit; (j)

           failing to investigate what caused Ms. Baker's carbon monoxide detector to alarm; and (k) failing to

           evacuate the Property after Ms. Baker's carbon monoxide detector alarmed.

                     106,   Property Defendants knew or should have known that a breach of these duties would

           result in exposing the Plaintiffs to deadly levels of carbon monoxide, creating an unreasonable risk of


                                                                17




                                                                                                                         AXIS000277
(Page 19   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page19
                                                                           34ofof85
                                                                                  100

           physical harm to the Plaintiffs.

                     107.   Property Defendants breached their duties owed to Plaintiffs, and Property Defendants'

           conduct resulted in the release of deadly carbon monoxide that physically harmed the Plaintiffs.

                     108.   The Plaintiffs could not, by using any degree of ordinary care, have discovered the defects

           at the Property.

                     109.   The Property Defendants' conduct was a direct and proximate cause of Plaintiffs'

           permanent injuries. The Plaintiffs are entitled to recover damages including, but not limited to, pain and

           suffering, lost wages, loss of earning capacity, medical expenses and damages for all other losses and

           injuries caused by the Property Defendants.

                     110.   The release of deadly levels of carbon monoxide from the mechanical room was the type

           of accident which does not ordinarily occur unless the persons exercising control have been negligent.

                     111.   The above intentional and grossly negligent acts caused Plaintiffs to suffer personal

           injuries and to continue to suffer brain damage, brain injury, memory deficits, mental anguish, emotional

           pain and suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe

           headaches, mood fluctuations, physical anxiety symptoms, decreased interest in usual activities, and

           social withdrawal, medical bills, lost wages, future loss of earnings, and other injuries, without any

           negligence on the part of any Plaintiff contributing thereto. All of the aforesaid damages are the result

           of the wrongful conduct by Property Defendants.

                     WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together with punitive

           damages, attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                              COUNT III: STRICT LIABILITY


                                                                18




                                                                                                                          AXIS000278
(Page 20   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page20
                                                                           35ofof85
                                                                                  100

                                             (Plaintiffs v. Property Defendants)
                  112.    Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                  113.    At all times relevant to this Complaint, Plaintiffs were lawfully in their units as occupants,

           guests and/or lessees at the Property.

                  114.    Property Defendants owed a duty to Plaintiffs as occupants, guests and/or lessees of the

           Property, to inter alia, maintain the Hot Water Heater, the mechanical room, venting system, condensate

           lines and flue system.

                  115.    Property Defendants owed Plaintiffs a non-delegable duty to provide a safe environment

           for its lessees and foreseeable guests.

                  116.    Property Defendants had control of the Hot Water Heater system and mechanical room

           at the Property. Property Defendants engaged in an abnormally dangerous activity, which exposed

           Plaintiffs to an unreasonable risk of harm, by, inter alia (a) installing and/or operating a venting system

           that did not maintain a positive air flow adequate to remove flue or vent gasses from the Hot Water

           Heater to the outside atmosphere; (b) installing or maintaining a draft system which did not prevent

           leakage of flue or vent gases into the interior of the Property; (c) failing to provide for an effective

           interlock system to prevent the flow of fuel to the Hot Water Heater when the mechanical draft system

           was not performing; (d) failing to properly inspect or maintain the Hot Water Heater so that it would

           operate without producing excessive amounts of carbon monoxide; (e) failing to properly install, inspect,

           maintain and/or repair the Hot Water Heater's vent ducts and condensate lines; (f) failing to comply with

           local and state, and/or federal laws requiring the Hot Water Heater to be interlocked so that they cannot

           operate without proven airflow; (g) failing to install carbon monoxide detectors on the premises in

           accordance with Maryland State law and the Building Code; (h) failing to comply with the Hot Water

           Heater manufacturer's maintenance and inspection instructions; (i) intentionally disabling the carbon


                                                               19




                                                                                                                           AXIS000279
(Page 21   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page21
                                                                           36ofof85
                                                                                  100

           monoxide detector that had alarmed to the presence of carbon monoxide in Ms. Baker's unit; (j) failing

           to investigate what caused Ms. Baker's carbon monoxide detector to alarm; and (k) failing to evacuate

           the Property after Ms. Baker's carbon monoxide detector alarmed.

                  117.    The Property Defendants breached their duty by failing to protect its lessees and their

           guests from exposure to carbon monoxide gas.

                   118.   As a proximate and foreseeable result of Property Defendants' abnormally dangerous

           activity of failing to repair and/or maintain the Hot Water Heater system, flu vent, condensate lines and

           related machinery, while on actual notice of the systems' faulty installation, the Hot Water Heater

           malfunctioned and emitted deadly carbon monoxide gas into Plaintiffs' units.

                  119.    As a further proximate and foreseeable result of Property Defendants' abnormally

           dangerous activity of disabling a carbon monoxide detector located on the Property, the carbon monoxide

           detector failed to alarm Plaintiffs to the presence of deadly carbon monoxide, extending the time each

           Plaintiff was exposed to the deadly gas.

                   120.   As a result of Plaintiffs inhaling the emitted carbon monoxide, Plaintiffs incurred, inter

           alia, pain and suffering, lost wages, loss of earning capacity, and medical expenses and damages.

                   121.   All of the aforesaid damages were the result of the wrongful conduct of Property

           Defendants without any negligence by the Plaintiffs.

                   122.   The above intentional and grossly negligent acts were wanton and reckless and were with

           complete disregard to the health safety and well-being of Plaintiffs. Plaintiffs have suffered serious and

           painful injuries that are permanent in nature. The above intentional and grossly negligent acts caused

           Plaintiffs to suffer personal injuries and to continue to suffer brain damage, brain injury, memory deficits,

           mental anguish, emotional pain and suffering, depression, cognitive and emotional deficits, sleep

           problems, fatigue, severe headaches, mood fluctuations, physical anxiety symptoms, decreased interest

           in usual activities, and social withdrawal, medical bills, lost wages, future loss of earnings, and other


                                                                20




                                                                                                                           AXIS000280
(Page 22   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page22
                                                                           37ofof85
                                                                                  100

           injuries, without any negligence on the part of any Plaintiff contributing thereto.

                     WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together with punitive

           damages, attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                             COUNT IV: PUNITIVE DAMAGES
                                               (Plaintiffs v. Property Defendants)
                     123.   Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                     124.   Property Defendants owed a duty under Maryland common law as well as State and local

           regulations to provide a safe living environment and to properly supply and install carbon monoxide

           detectors in all its units, including Plaintiffs' units. Portions of the Property and Plaintiffs' units either

           lacked a carbon monoxide detector entirely or included a carbon monoxide detector that failed to comply

           with Maryland State law and the Building Code. Further, on more than one occasion prior to this incident,

           Property Defendants told one or more residents it was safe to go back into their unit when a carbon

           monoxide detector had alarmed.

                     125.   Further, Property Defendants disabled a carbon monoxide detector that had alarmed to

           the presence of carbon monoxide.

                     126.   Property Defendants knew or should have known that if a carbon monoxide detector(s)

           alarms, the Property evacuated and all potential areas where carbon monoxide gas can potentially

           emanate should be checked and rechecked for potential leakage. Property Defendants' intentional

           disabling of a carbon monoxide detector that had alarined and Property Defendants' failure to check the

           potential sources of carbon monoxide leakage is in direct violation of Maryland law and the Building



                                                                21




                                                                                                                            AXIS000281
(Page 23   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page23
                                                                           38ofof85
                                                                                  100

           Code regarding the safety of its residents and is so gross and wanton, under the facts, as to entitle

           Plaintiffs to punitive damages.

                  127.    As a result of the above conduct, Property Defendants' actions were in violation of the

           State and Local regulations and created a substantial risk of death or serious physical injury to Plaintiffs

           and others. Such violation of a statutory duty establishes a primafacie case and demonstrates a reckless

           disregard for Plaintiffs' safely, entitling Plaintiffs to punitive damages.

                  128.    As a result of Property Defendants' reckless actions, Plaintiffs suffered personal injuries

           and to continue to suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain

           and suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches,

           mood fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social

           withdrawal, medical bills, lost wages, future loss of earnings, and other injuries, without any negligence

           on the part of any Plaintiff contributing thereto.

                  129.    Property Defendants' intentional failure to properly install the carbon monoxide

           detectors, intentional disabling of a carbon monoxide detector that had alarmed to the presence of carbon

           monoxide and failure to investigate the potential sources of the carbon monoxide leakage and evacuate

           the Property when its management crew had more than enough notice is a direct and proximate cause of

           Plaintiffs' physical injuries and mental suffering.

                   130.   As a direct result of Property Defendants' aforesaid conduct, Plaintiffs seek punitive

           damages.

                  WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs punitive damages in an amount in excess of $75,000.00, together with attorney's

           fees, costs and expenses of this lawsuit and such other relief as the Court may deem proper.

                                                    COUNT V: BATTERY


                                                                 22




                                                                                                                          AXIS000282
(Page 24   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page24
                                                                           39ofof85
                                                                                  100

                                               (Plaintiffs v. Property Defendants)
                     131.   Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                     132.   Such intentional and deliberate acts by Property Defendants and/or the agents, servants,

           and/or employees of Property Defendants, were foreseeable by Property Defendants and performed with

           actual malice and caused the Hot Water Heater to continue to operate while spewing carbon monoxide

           at increasing levels into the mechanical room, into the Plaintiffs' units, and, ultimately, into Plaintiffs'

           lungs.

                     133.   Such intentional and deliberate actions by Property Defendants and/or the agents,

           servants, and/or employees of Property Defendants, constituted an offensive, intentional touching of

           Plaintiffs and was without the consent of Plaintiffs.

                     134.   Such intentional and deliberate actions by Property Defendants and/or the agents,

           servants, and/or employees of Property Defendants caused Plaintiffs to suffer personal injuries and to

           continue to suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and

           suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other injuries, without any negligence on the part

           of any Plaintiff contributing thereto.

                     WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together with punitive

           damages, attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                                    COUNT VI: NEGLIGENCE


                                                                23




                                                                                                                           AXIS000283
(Page 25   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page25
                                                                           40ofof85
                                                                                  100

                                                     (Plaintiffs v. Capitol)
                   135.    Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                   136.    At all times relevant herein, Defendant Capitol, including, but not limited to, their agents,

           servants and/or employees, were in the business of selling, distributing, installing, maintaining, altering,

           and repairing water heaters and related flue venting, condensate lines and associated machinery.

                   137.    Defendant Capitol, including but not limited to their agents, servants and/or employees,

           performed the maintenance, inspections, modifications, alterations, and repairs to the Hot Water Heater,

           its flu venting system, condensate lines and associated machinery after the Hot Water Heater's

           installation.

                   138.    While staying at the Property, Plaintiffs were consumers who used the Hot Water Heater

           for hot water and were in close proximity to its operation.

                   139.    It was foreseeable to Defendant Capitol, including but not limited to their agents, servants

           and/or employees, that if the Hot Water Heater was used with the method of installation used at the

           Property, used with the method of service and maintenance provided by Capitol, or if it was used in a

           situation where persons would be in close proximity to it, it would result in a dangerous condition that

           would be hazardous to others.

                   140.    At all relevant times herein, Defendant Capitol, including but not limited to their agents,

           servants and/or employees, owed Plaintiffs a duty to use reasonable care in maintaining, inspecting,

           modifying, repairing, and maintaining the Hot Water Heater and related flue venting, condensate lines

           and associated machinery

                   141.    Defendant Capitol, including, but not limited to, their agents, servants and/or employees,

           breached their duty of care owed to Plaintiffs and other users of the hot water heating system at the

           Property when they acted in a negligent manner including, but not limited to, the following:


                                                                24




                                                                                                                           AXIS000284
(Page 26   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page26
                                                                           41ofof85
                                                                                  100

                              (a)    Failing to use reasonable care to inspect, repair, modify and/or maintain

                       the Hot Water Heater, flue venting, condensate lines, and associated machinery in a

                       manner that was safe for its intended and foreseeable use, not defective and/or not

                       unreasonably dangerous;

                              (b)    Failing to use reasonable care to adequately warn foreseeable users and

                       individuals such as the Plaintiffs who would be in close proximity to and/or impacted by

                       the operation of the Hot Water Heater, of the dangers and potential dangers that were

                       known and/or reasonably foreseeable and/or suspected in connection with the Hot Water

                       Heater and/or its use, including but not limited to carbon monoxide poisoning;

                              (c)    Failing to timely discover and/or correct the defects and/or dangerous

                       condition existing with the Hot Water Heater and related flue venting, condensate lines,

                       and associated machinery;

                              (d)    Failing to comply with and/or use reasonable care to comply with the

                       standards of care, including accepted industry standards, connected to the maintenance

                       of the Hot Water Heater and related flue venting, condensate lines, and associated

                       machinery;

                              (e)    Failing to provide proper instructions for the safe use, adjustment, and

                       maintenance of the Hot Water Heater, including but not limited to, how to respond to

                       fault codes generated by the Hot Water Heater's control system;

                              (f)    Failing to use reasonable care to timely correct or otherwise prevent the

                       continued use of the Hot Water Heater installed in a defective and/or unreasonably

                       dangerous condition;

                              (g)    Failing to use reasonable care to investigate and correct the cause of water

                       accumulating in the Hot Water Heater's condensate lines;


                                                          25




                                                                                                                    AXIS000285
(Page 27   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page27
                                                                           42ofof85
                                                                                  100

                                  (h)       Failure to use reasonable care to make the Hot Water Heater safe and/or

                          incorporate safeguards to ensure the Hot Water Heater and related flue venting,

                          condensate lines, and associated machinery were safe, not defective and/or unreasonably

                          dangerous, including but not limited to, the accumulation of water in the condensate lines,

                          the blockage of the flu, the production of dangerous and/or lethal levels of carbon

                          monoxide and/or the ability of the flu pipe to become disconnected while operating;

                                  (i)       Failing to provide adequate warnings regarding known or reasonably

                          foreseeable misuses of the Hot Water Heater or instructions regarding the safe use of the

                          Hot Water Heater;

                                  (j)       Failing to properly maintain the Hot Water Heater in a manner so as not

                          to render it defective and/or unreasonably dangerous; and

                                 (k)        Failing to install maintain the Hot Water Heater in the manner consistent

                          with the applicable codes, regulations, industry standards, and manufacturer's

                          specifications.

                  142.    Defendant Capitol, including but not limited to their agents, servants and/or employees'

           negligence, negligent conduct and negligent breach of their duties proximately caused the injuries to

           Plaintiffs, without any negligence on the part of any Plaintiff contributing thereto.

                  143.    As a direct and proximate result of the negligence of Defendant Capitol, including but

           not limited to their agents, servants and/or employees, Plaintiffs suffered personal injuries and will

           continue to suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and

           suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other injuries, without any negligence on the part

           of any Plaintiff contributing thereto.


                                                                26




                                                                                                                        AXIS000286
(Page 28   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page28
                                                                           43ofof85
                                                                                  100

                  WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Defendant Capitol, finding Defendant Capitol liable to Plaintiffs and awarding Plaintiffs

           compensatory damages in an amount in excess of $75,000.00, together with attorney's fees, costs and

           expenses of this lawsuit and such other relief as the Court may deem proper.

                                              COUNT VII: STRICT LIABILITY
                                      (Plaintiffs v. Defendants A.O. Smith and Eberly)
                  144.    Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                  145.    At all times relevant to this case, Defendants A.O. Smith and Eberly, including, but not

           limited to, their agents, servants and/or employees designed, manufactured, assembled, distributed, sold,

           installed and/or placed in the stream of commerce the Hot Water Heater, which was defective and

           unreasonably dangerous for which they are strictly liable.

                  146.    The Hot Water Heater was:

                                 a)      Defectively designed;

                                 b)      Defectively manufactured, modified, altered and/or converted;

                                 c)      Not for sale for its intended use;

                                 d)      Lacked functional, proper and necessary safeguards to ensure safe

                                 operation;

                                 e)      Lacked adequate warnings necessary for safe and proper use;

                                 f)      Lacked adequate warnings and instructions to ensure proper application,

                                 assembly, installation, maintenance, safe use and the avoidance of foreseeable

                                 hazards so as to allow operation of the unit in a safe manner;

                                 g)      Did not contain sufficient safeguards, including but not limited to, a

                                 shutoff mechanism sufficiently designed and calibrated to prevent the unit from



                                                              27




                                                                                                                         AXIS000287
(Page 29   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page29
                                                                           44ofof85
                                                                                  100

                                  producing and distributing excessive and lethal amounts of carbon monoxide

                                  when its exhaust flu is blocked;

                                  h)     Did not contain sufficient mechanisms to prevent the unit from being used,

                                  adjusted, modified, misused and/or converted in a manner that would produce and

                                  distribute excessive and/or lethal amounts of carbon monoxide when its exhaust

                                  flu was blocked;

                                  i)     Did not contain sufficient, adequate warnings to advise users and those in

                                  close proximity to the unit that the unit was defective and unreasonably dangerous

                                  in nature or warn of the dangers of operating the unit;

                                  j)      Lacked appropriate safety mechanisms to prevent the exhaust flue pipe

                                  from becoming dislodged from the unit, thereby allowing the carbon monoxide to

                                  improperly be distributed in the Property; and

                                  k)      Was defective and unreasonably dangerous and caused and created an

                                  unreasonably dangerous condition and threat to persons.

                  147.    Defendants A.O. Smith and Eberly, including, but not limited to, their agents, servants

           and/or employees, placed the Hot Water Heater in the stream of commerce knowing and expecting,

           and/or with reason to know that the Hot Water Heater, which they designed, manufactured, distributed,

           supplied, installed and/or sold, if used in particular applications or in close proximity to persons, would

           create an unreasonably dangerous and defective condition unknown to them.

                  148.    At the time of the Plaintiffs' injuries, the Hot Water Heater was in substantially the same

           defective and unreasonably dangerous condition as it existed when it was designed, manufactured,

           distributed, supplied, sold and/or otherwise placed into the stream of commerce by Defendants A.O.

           Smith and Eberly, including, but not limited to, their agents, servants and/or employees.

                  149.    The Hot Water Heater was expected to and in fact was installed in the Property without


                                                               28




                                                                                                                         AXIS000288
(Page 30   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page30
                                                                           45ofof85
                                                                                  100

           substantial change in its condition, presenting a hazard to users without their knowledge.

                  150.    The Plaintiffs' injuries are a direct and proximate result of the design, manufacture,

           distribution, supply and sale of the Hot Water Heater which created an unreasonably dangerous condition

           that exposed each sickened Plaintiff to an unreasonable risk of injury, harm, and death for which

           Defendants A.O. Smith and Eberly are strictly liable.

                  151.    The unreasonably dangerous condition created by the Hot Water Heater, which rendered

           it unsafe, unfit, and unreasonably dangerous was known to and/or should have been anticipated by

           Defendants A.O. Smith and Eberly.

                  152.    As a direct and proximate result of the conduct of Defendants A.O. Smith and Eberly,

           Plaintiffs suffered personal injuries and will continue to suffer brain damage, brain injury, memory

           deficits, mental anguish, emotional pain and suffering, depression, cognitive and emotional deficits,

           sleep problems, fatigue, severe headaches, mood fluctuations, physical anxiety symptoms, decreased

           interest in usual activities, social withdrawal, and other injuries, with no negligence of any Plaintiff

           contributing thereto.

                  WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Defendants A.O. Smith and Eberly, finding Defendants A.O. Smith and Eberly jointly and

           severally liable to Plaintiffs and awarding Plaintiffs compensatory damages in an amount in excess of

           $75,000.00, together with attorney's fees, costs and expenses of this lawsuit and such other relief as the

           Court may deem proper.

                                   COUNT VIII: BREACH OF EXPRESS WARRANTY
                                     (Plaintiffs v. Defendants A.O. Smith and Eberly)
                  153     Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                  154.    At all times relevant to this Complaint, Defendants A.O. Smith and Eberly expressly



                                                              29




                                                                                                                         AXIS000289
(Page 31   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page31
                                                                           46ofof85
                                                                                  100

           warranted that the Hot Water Heater, which was manufactured and sold to be used at locations where

           the sickened Plaintiffs and others were foreseeably known to use this product or be in close proximity to

           the use of this product, and its component parts were of merchantable quality, and the product was fit,

           safe, and in proper condition for the ordinary use for which it was sold, designed, manufactured, and/or

           used.

                   155.      In reliance upon such express warranty, consumers and users of the Hot Water Heater,

           such as the Property Defendants and/or the sickened Plaintiffs, used the Hot Water Heater and stayed in

           close proximity to the same, believing that this could be done safely and without risk of injury.

                      156.   The Hot Water Heater was not of merchantable quality and/or for use, but rather was

           unfit, unsafe and was dangerous in the manner and for the use intended by exposing users and individuals

           near and about the Hot Water Heater to high, dangerous, and potentially lethal levels of carbon monoxide

           which could and did result in injuries.

                   157.      Defendants A.O. Smith and Eberly, including, but not limited to, their agents, servants

           and/or employees, knew and/or had reason to know that the Hot Water Heater was unsafe and potentially

           could expose persons near the product to risk of injury and/or death.

                      158.   As a direct and proximate result of Defendant A.O. Smith's and Eberly's breach of

           express warranties, Plaintiffs suffered personal injuries and will continue to suffer brain damage, brain

           injury, memory deficits, mental anguish, emotional pain and suffering, depression, cognitive and

           emotional deficits, sleep problems, fatigue, severe headaches, mood fluctuations, physical anxiety

           symptoms, decreased interest in usual activities, and social withdrawal, medical bills, lost wages, future

           loss of earnings, and other injuries, without any negligence on the part of any Plaintiffs contributing

           thereto.

                   WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Defendants A.O. Smith and Eberly, finding Defendants A.O. Smith and Eberly jointly and


                                                               30




                                                                                                                        AXIS000290
(Page 32   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page32
                                                                           47ofof85
                                                                                  100

           severally liable to Plaintiffs and awarding Plaintiffs compensatory damages in an amount in excess of

           $75,000.00, together with attorney's fees, costs and expenses of this lawsuit and such other relief as the

           Court may deem proper.

                                   COUNT IX: BREACH OF IMPLIED WARRANTY
                                     (Plaintiffs v. Defendants A.O. Smith and Eberly)
                  159.    Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                  160.    At all times relevant to this Complaint, Defendants A.O. Smith and Eberly marketed,

           sold, and distributed the Hot Water Heater and knew of the use for which the product was intended and

           impliedly warranted the product to be of merchantable quality and safe and fit for such use.

                  161.    Plaintiffs reasonably relied upon the skill, judgment, knowledge, and representation of

           Defendants A.O. Smith and Eberly as to whether it would be safe to use the Hot Water Heater, and that

           it was indeed of merchantable quality and safe and fit for its intended use.

                  162.    Plaintiffs reasonably relied upon the skill, judgment, knowledge, and representation of

           Defendants A.O. Smith and Eberly, including, but not limited to, its agents, servants and/or employees

           in selecting the Hot Water Heater for use.

                  163.    Contrary to the implied warranties, the Hot Water Heater was not of merchantable quality

           or safe or fit for its intended use, because the product was and is unreasonably dangerous and unfit for

           the use for which it was intended.

                  164.    Defendants A.O. Smith and Eberly, including, but not limited to, their agents, servants

           and/or employees, knew and/or had reason to know that the Hot Water Heater was unsafe and potentially

           could expose persons near the product to risk of injury and/or death.

                  165.    As a direct and proximate result of the Defendant A.O. Smith's and Eberly's breach of

           implied warranties, Plaintiffs suffered personal injuries and will continue to suffer brain damage, brain



                                                               31




                                                                                                                         AXIS000291
(Page 33   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page33
                                                                           48ofof85
                                                                                  100

           injury, memory deficits, mental anguish, emotional pain and suffering, depression, cognitive and

           emotional deficits, sleep problems, fatigue, severe headaches, mood fluctuations, physical anxiety

           symptoms, decreased interest in usual activities, and social withdrawal, medical bills, lost wages, future

           loss of earnings, and other injuries, without any negligence on the part of any Plaintiffs contributing

           thereto.

                     WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Defendant A.O. Smith, finding Defendants A.O. Smith and Eberly jointly and severally liable to

           Plaintiffs and awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together

           with attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                               COUNT X: BREACH OF LEASE
             (Wayne Padmore, Elizabeth Padmore, K      P          ,Z P          ,T        P        and
                 Erica Baker vs. Gates, Hudson & Associates, Inc., Atlas West End Silver Hill LLC,
                                  and Atlas West End Silver Hill Manager LLC)

                      166.   Wayne Padmore, Elizabeth Padmore, K          P        ,Z    P         T        P

           and Erica Baker ("Tenants") repeat and re-allege each and every allegation contained in the preceding

           and subsequent paragraphs of this Complaint as if fully set forth herein.

                      167.   Tenants entered into contracts to lease their respective apartment units at the Property

           pursuant to their lease agreements.

                      168.   Tenants had lease agreements in place with Defendants Gates, Hudson & Associates, Inc.,

           Atlas West End Silver Hill LLC and Atlas West End Silver Hill Manager LLC ("Lessors"), whereby

           Tenants would tender monthly rent payments to Lessors, and in return, Lessors were to provide a

           habitable residence. The lease agreements set forth contractual obligations for Lessors, which included,

           but were not limited to, maintaining fixtures, hot water, heating and A/C equipment; substantially

           complying with applicable federal, state, and local laws regarding safety; and make all reasonable


                                                                32




                                                                                                                        AXIS000292
(Page 34   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page34
                                                                           49ofof85
                                                                                  100

           repairs; as well as installing and maintaining the Hot Water Heater in a manner that did not harm Tenants.

                  169.    Tenants did tender monthly rental payments to Lessors pursuant to their respective lease

           agreements.

                  170.    Lessors materially breached the lease agreements in place with Tenants by, inter alia (a)

           installing and/or operating a venting system that did not maintain a positive air flow adequate to remove

           flue or vent gasses from the Hot Water Heater to the outside atmosphere; (b) installing or maintaining a

           draft system which did not prevent leakage of flue or vent gases into the interior of the Property; (c)

           failing to provide for an effective interlock system to prevent the flow of fuel to the Hot Water Heater

           when the mechanical draft system was not performing; (d) failing to properly inspect or maintain the

           Hot Water Heater so that it would operate without producing excessive amounts of carbon monoxide;

           (e) failing to properly install, inspect, maintain and/or repair the Hot Water Heater's vent ducts and

           condensate lines; (f) failing to comply with local and state, and/or federal laws requiring the Hot Water

           Heater to be interlocked so that they cannot operate without proven airflow; (g) failing to install carbon

           monoxide detectors on the premises in accordance with Maryland State law and the Building Code; (h)

           failing to comply with the Hot Water Heater manufacturer's maintenance and inspection instructions; (i)

           intentionally disabling the carbon monoxide detector that had alarmed to the presence of carbon

           monoxide in Ms. Baker's unit; (j) failing to investigate what caused Ms. Baker's carbon monoxide

           detector to alarm; and (k) failing to evacuate the Property after Ms. Baker's carbon monoxide detector

           alarmed.

                  171.    As a result of Lessors' breach, Tenants suffered serious harm as more thoroughly

           described above and below.

                  WHEREFORE, Tenants demand that this Court enter judgment in favor of Tenants and against

           Lessors, finding Lessors jointly and severally liable to Tenants and awarding Tenants compensatory

           damages in an amount in excess of $75,000.00, together with punitive damages, attorney's fees, costs


                                                              33




                                                                                                                        AXIS000293
(Page 35   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page35
                                                                           50ofof85
                                                                                  100

           and expenses of this lawsuit and such other relief as the Court may deem proper.

                                    COUNT XI: PRIVATE ACTION FOR NUISANCE
             (Wayne Padmore, Elizabeth Padmore, K      P          ,Z P          ,T        P      e and
                 Erica Baker vs. Gates, Hudson & Associates, Inc., Atlas West End Silver Hill LLC,
                                  and Atlas West End Silver Hill Manager LLC)

                   172.   Tenants incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                   173.   Lessors intended to cause, and/or set into motion forces which caused, the Hot Water

           Heater to continue to operate while spewing carbon monoxide with actual knowledge of the presence of

           carbon monoxide in the Property.

                  174.    Lessors intended to cause the Hot Water Heater to continue to operate while spewing

           carbon monoxide when they ignored the carbon monoxide detector that had alarmed to the presence of

           carbon monoxide coming from the unit, ultimately disabling the detector so that it would no longer

           function.

                  175.    Lessors' intentional and deliberate acts caused the Hot Water Heater to continue to

           operate while spewing carbon monoxide at increasing levels into the mechanical room, into the Tenants'

           units, and made contact with them by traveling into their lungs.

                  176.    Such intentional and deliberate acts by Lessors and/or agents, servants and/or employees

           of Lessors interfered with the Tenants' use and enjoyment of their property by permeating carbon

           monoxide throughout the units and the Property's common areas, and thereby causing permanent

           sickness, ill health and brain damage.

                  177.    The interference with Tenants' use and enjoyment of the Property was real, substantial

           and unreasonable and performed with actual malice, because it led to not only the Tenants' loss of the

           use and enjoyment of their property but also Tenants' ill health, permanent brain damage and sickness

           requiring a lifetime of care.


                                                              34




                                                                                                                      AXIS000294
(Page 36   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page36
                                                                           51ofof85
                                                                                  100

                   178.    As a result of the intentional and deliberate actions of Lessors and/or the agents, servants,

           and/or employees of Lessors, Tenants lost the use and enjoyment of their property and also suffered

           personal injuries and will continue to suffer brain damage, brain injury, memory deficits, mental anguish,

           emotional pain and suffering, depression, cognitive and emotional deficits, sleep problems, fatigue,

           severe headaches, mood fluctuations, physical anxiety symptoms, decreased interest in usual activities,

           and social withdrawal, medical bills, lost wages, future loss of earnings, and other injuries, without any

           negligence on the part of any Plaintiff contributing thereto.

                   179.    As a result, Tenants suffered physical injuries, pain and suffering, severe mental anguish,

           humiliation, disgrace, and loss of dignity, as well as monetary losses for medical and related expenses,

           lost wages, and other costs and expenses.

                   WHEREFORE, Tenants demand that this Court enter judgment in favor of Tenants and against

           Lessors, finding Lessors jointly and severally liable to Tenants and awarding Tenants compensatory

           damages in an amount in excess of $75,000.00, together with punitive damages, attorney's fees, costs

           and expenses of this lawsuit and such other relief as the Court may deem proper.

                                            COUNT XII: TRESPASS
             (Wayne Padmore, Elizabeth Padmore, K      P          ,Z P           T        P      e and
                 Erica Baker vs. Gates, Hudson & Associates, Inc., Atlas West End Silver Hill LLC,
                                  and Atlas West End Silver Hill Manager LLC)
                   180.    Tenants incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                   181.    Tenants had the right to possess their units in the Property, and thereby, had possessory

           interest in their units in the Property.

                   182.    The Lessors' acts and omissions resulting in the release of carbon monoxide, and their

           failure to remediate the release, was intentional and done with actual malice, causing Tenants' units to

           be contaminated with carbon monoxide.

                   183.    The carbon monoxide present in the Tenants' units came from the Hot Water Heater

                                                                35




                                                                                                                           AXIS000295
(Page 37   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page37
                                                                           52ofof85
                                                                                  100

           operated by Lessors.

                  184.    The invasion and presence of the carbon monoxide in the Tenants' units was caused by

           Lessors without consent, permission or authority from Tenants.

                  185.    The mere presence of the carbon monoxide in the Tenants' units constitutes trespass.

                  186.    The Lessors' past and continuing trespass upon the Property proximately caused Tenants

           to suffer personal injuries and to continue to suffer brain damage, brain injury, memory deficits, mental

           anguish, emotional pain and suffering, depression, cognitive and emotional deficits, sleep problems,

           fatigue, severe headaches, mood fluctuations, physical anxiety symptoms, decreased interest in usual

           activities, and social withdrawal, medical bills, lost wages, future loss of earnings, and other injuries,

           without any negligence on the part of any Plaintiff contributing thereto.

                  WHEREFORE, Tenants demand that this Court enter judgment in favor of Tenants and against

           Lessors, finding Lessors jointly and severally liable to Tenants and awarding Tenants compensatory

           damages in an amount in excess of $75,000.00, together with punitive damages, attorney's fees, costs

           and expenses of this lawsuit and such other relief as the Court may deem proper.

                                               COUNT XIII: NEGLIGENCE
                                                    (Plaintiffs v. Eberly)
                  187.    Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                  188.    At all times relevant herein, Defendant Eberly, including, but not limited to, their agents,

           servants and/or employees, were in the business of selling, distributing and installing, maintaining,

           altering, and repairing water heaters and related flue venting, condensate lines and associated machinery.

                  189.    Defendant Eberly, including but not limited to their agents, servants and/or employees,

           marketed, sold and performed the installation of the Hot Water Heater, including, but not limited to, its

           flu venting system, condensate lines and associated machinery as well as performed inspections,



                                                              36




                                                                                                                         AXIS000296
(Page 38   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page38
                                                                           53ofof85
                                                                                  100

           modifications, alterations, and repairs to the Hot Water Heater, its flu venting system, condensate lines

           and associated machinery, prior to, during and/or after the Hot Water Heater's installation.

                  190.    While staying at the Property, Plaintiffs were consumers who used the Hot Water Heater

           for hot water and were in close proximity to its operation.

                  191.    It was foreseeable to Defendant Eberly, including but not limited to their agents, servants

           and/or employees, that if the Hot Water Heater was used with the method of installation used at the

           Property, or if it was used in a situation where persons would be in close proximity to it, it would result

           in a dangerous condition that would be hazardous to others.

                  192.    At all relevant times herein, Defendant Eberly, including but not limited to their agents,

           servants and/or employees, owed Plaintiffs a duty to use reasonable care in installing, inspecting,

           modifying, repairing, and maintaining the Hot Water Heater and related flue venting, condensate lines

           and associated machinery.

                  193.    Defendant Eberly, including, but not limited to, their agents, servants and/or employees,

           breached their duty of care owed to Plaintiffs and other users of the hot water heating system at the

           Property when they acted in a negligent manner including, but not limited to, the following:

                                  (a)    Failing to use reasonable care to install, inspect, repair, modify and/or

                          maintain the Hot Water Heater, flue venting, condensate lines, and associated machinery

                          in a manner that was safe for its intended and foreseeable use, not defective and/or not

                          unreasonably dangerous;

                                  (b)    Failing to use reasonable care to adequately warn foreseeable users,

                          purchasers and individuals such as the Plaintiffs who would be in close proximity to

                          and/or impacted by the operation of the Hot Water IIeater, of the dangers and potential

                          dangers that were known and/or reasonably foreseeable and/or suspected in connection

                          with the Hot Water Heater and/or its use, including but not limited to carbon monoxide


                                                               37




                                                                                                                         AXIS000297
(Page 39   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page39
                                                                           54ofof85
                                                                                  100

                       poisoning;

                              (c)     Failing to timely discover and/or correct the defects and/or dangerous

                       condition existing with the Hot Water Heater and related flue venting, condensate lines,

                       and associated machinery;

                              (d)     Failing to comply with and/or use reasonable care to comply with the

                       standards of care, including accepted industry standards, connected to the installation and

                       maintenance of the Hot Water Healer and related flue venting, condensate lines, and

                       associated machinery;

                              (e)     Failing to provide proper instructions for the safe use, installation,

                       adjustment, and maintenance of the Hot Water Heater, including but not limited to, how

                       to respond to fault codes generated by the Hot Water Heater's control system;

                              (f)     Failing to use reasonable care to timely recall, correct or otherwise prevent

                       the continued use of the Hot Water Heater installed in a defective and/or unreasonably

                       dangerous condition;

                              (g)     Failing to use reasonable care to investigate and correct the cause of water

                       accumulating in the Hot Water Heater's condensate lines;

                              (h)     Failure to use reasonable care to make the Hot Water Heater safe and/or

                       incorporate safeguards to ensure the Hot Water Heater and related flue venting,

                       condensate lines, and associated machinery were safe, not defective and/or unreasonably

                       dangerous, including but not limited to, the accumulation of water in the condensate lines,

                       the blockage of the flu, the production of dangerous and/or lethal levels of carbon

                       monoxide and/or the ability of the flu pipe to become disconnected while operating;

                              (i)     Failing to provide adequate warnings regarding known or reasonably

                       foreseeable misuses of the Hot Water Heater or instructions regarding the safe use of the


                                                           38




                                                                                                                      AXIS000298
(Page 40   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page40
                                                                           55ofof85
                                                                                  100

                          Hot Water Heater;

                                  (j)       Failing to properly install and maintain the Hot Water Heater in a manner

                          so as not to render it defective and/or unreasonably dangerous; and

                                  (k)       Failing to install and/or maintain the Hot Water Heater in the manner

                          consistent with the applicable codes, regulations, industry standards, and manufacturer's

                          specifications.

                  194.    Defendant Eberly, including but not limited to their agents, servants and/or employees'

           negligence, negligent conduct and negligent breach of their duties proximately caused the injuries to

           Plaintiffs, without any negligence on the part of any Plaintiff contributing thereto.

                  195.    As a direct and proximate result of the negligence of Defendant Eberly, including but not

           limited to their agents, servants and/or employees, Plaintiffs suffered personal injuries and will continue

           to suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and suffering,

           depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other injuries, without any negligence on the part

           of any Plaintiff contributing thereto.

                  WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Defendant Eberly, finding Defendant Eberly liable to Plaintiffs and awarding Plaintiffs

           compensatory damages in an amount in excess of $75,000.00, together with attorney's fees, costs and

           expenses of this lawsuit and such other relief as the Court may deem proper.



                                                              Respectfully submitted,



                                                              William H. Murphy, III — AIS# 0404060002


                                                                39




                                                                                                                         AXIS000299
(Page 41   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page41
                                                                           56ofof85
                                                                                  100

                                                               Nicholas A. Szokoly — AIS# 0312170297
                                                               Andrew K. O'Connell — MS #0106200194
                                                               Murphy, Falcon & Murphy
                                                               One South Street, 30th Floor
                                                               Baltimore, Maryland 21202
                                                               Telephone: (410) 951-8744
                                                               Facsimile: (410) 539-6599
                                                               nick.szokoly@murphyfalcon.com
                                                               billy.murphy@murphyfalcon.com
                                                               andrew.oconnell@murphyfalcon.com



                                                               Alan J. Mensh — AIS# 9212160224
                                                               Ashcraft & Gerel, LLP
                                                               120 E. Baltimore Street, Suite 1802
                                                               Baltimore, Maryland 21202
                                                               Telephone: (410) 385-3280
                                                               Facsimile: (410) 547-1261
                                                               AMensh@ashcraftlaw.com

                                                               Attorneysfor Plaintiffs




                                                   JURY TRIAL DEMAND

                  Plaintiffs request a trial by jury in this matter.



                                                               Andrew K. O'Connell — MS #0106200194
           Dated July         , 2021




                                                                 40




                                                                                                       AXIS000300
(Page 42   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page42
                                                                           57ofof85
                                                                                  100

                                            CERTIFICATE OF SERVICE

                    I HEREBY CERTIFY, on this       day of July 2021, that a copy of the foregoing Second
           Amended Complaint and Demand for Jury Trial along with a redlined copy was served via email and
           first-class mail, postage prepaid, upon:

           Jennifer A. King, Esq.                         David J. Quigg, Esq.
           DeCaro, Doran, Siciliano, Gallagher &          Jessica P. Butkera, Esq.
            DeBlasis, LLP                                 DeHay & Elliston, LLP
           17251 Melford Boulevard, Suite 200             36 S. Charles Street, Suite 1400
           Bowie, Maryland 20715                          Baltimore, Maryland 21201
           jking@decarodoran.com                          dquigg@dehay.com
           Attorneysfor Atlas West End Silver Hill, LLC   jbutkera@dehay.com
           and Atlas West End Silver Hill Manager, LLC    Attorneysfor A.O. Smith Corporation


           Brett A. Buckwalter, Esq.                      Jason Waters, Esq.
           M. Andrea Olsen-Leyden, Esq.                   Regional Managing Partner
           Niles, Barton & Wilmer, LLP                    Sophia U. Jafrul
           111 South Calvert Street, Suite 1400           Wilson El ser Moskowitz Edelman & Dicker LLP
           Baltimore, MD 21202                            8444 Westpark Drive - Suite 510
           babuckwalter@nilesbarton.com                   McLean, VA 22102-5102
           Attorneysfor Defendants Gates Hudson           jason.waters@wilsonelser.corn
           Associates, Danielle Samuels, and Andrew       sophia.jafrul@wilsonelser.com
           Ferrell                                        Attorneysfor Capital Boiler Works, Inc.




                                                           Andrew K. O'Connell — AIS #0106200194




                                                          41




                                                                                                             AXIS000301
(Page 43   of      85)


                  Case
                 Case   1:22-cv-00030-DLB Document
                      1:22-cv-00769-BAH    Document70-8
                                                    4-1 Filed
                                                        Filed 01/07/22
                                                              02/14/24 Page
                                                                       Page43
                                                                            58ofof85
                                                                                   100

                         IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

           WAYNE PADMORE
           a
           sad                                        &



           BLIAARETEH-RATRMORE                        *

                                                           CASE NO. CAL20-14812
                                                      *
           afifi

                     riper hergaran
           SABAEEA-EADMORE-p
                Wayne Badmares, et al.
           aadnest-fiand
                           Plaintiffs,

           vs.

           ATLAS WEST END SILVER HILL, LLC, et al.



           4444-gilvefside-Road
           Wiliiaeton-Dolaware -LoGhg                 *

           .ATLAS WEST INI) SILVER HThI.„ I.I:.0

           and

           ATLAS WEST END SILVER HILL
                                                      *
           MANAGER, LLC
           481 I Silversicio Road
                                                      *
           MGhaineton Beha
                                                      *
           and

                                                      *
           GATES, HUDSON & ASSOCIATES, INC.
            €424444.aimal ett4;-SEii-W40-1-
           Bantex Micguna-2364
                                  Arey                *



                                                      *
           and

                                                      *
           ANDRE FERRELL
                     -Engish Gable,
           Pepto:
           13fywie-441)-247:44

           and

           DANIELLE SAMUELS




                                                                                         AXIS000302
(Page 44   of          85)


                      Case
                     Case   1:22-cv-00030-DLB Document
                          1:22-cv-00769-BAH    Document70-8
                                                        4-1 Filed
                                                            Filed 01/07/22
                                                                  02/14/24 Page
                                                                           Page44
                                                                                59ofof85
                                                                                       100

               48-1-2-Weeflfeed-pante
               Upper Marlboro, MD 20772



               €'4PI:470I-,13011,ER-WO-R4(SONG:


               I2a.iffax-;-VA-2203-1




                                                                            rhe
                                                                  ¢
                                                                      oS

                                                                           eB
                             240S-Yeik-Read
                             Suite 204-
                             Lutlief-ville-Timani.                4993-2261
                  as
           a




               47-0---SM414-CORPORAT ION
                                                   ye
                                               rs
                                                    oy




                              Serve en-Residen-t-Agent-t-
                                                         or




                              The-PEentiee-14a4I-Geppefatieft
                              System, MA

                              SU-ITE 829


               and

               G.A. EBERLY, iLLC
                       4



                                  4




                                               ,




                   . 59 Old Alexandria Ferry Road
               Clinton MD 2.0735

               SIO Resident. Agent:
               7157-59 Old Alexandria I=erry Road
               Clinton MD 20735

                                      Defendants.
           x




                                                              *




                                                                                  x




                             MCSTSECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

                           The Plaintiffs, Gary Young, Wayne Padmore, Elizabeth Padmore, K            P        ,Z   P        ,

           T                  P            and Erica Baker (hereinafter, collectively "Plaintiffs") by and through undersigned

                                                                                      2




                                                                                                                                 AXIS000303
(Page 45   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page45
                                                                           60ofof85
                                                                                  100

           counsel, hereby file this Second Amended Complaint against Defendants Atlas West End Silver Hill

           LLC, Atlas West End Silver Hill Manager LLC, Gates, Hudson & Associates, Inc., Andre Ferrell,

           Danielle Samuels (hereinafter, collectively the "Property Defendants") as well as Capitol Boiler Works,

           Inc: tom. A.O. Smith Corporation and G.A. Eberly.

                                                              PARTIES

                  1.      Gary Young is a resident of Prince George's County, Maryland.

                  2.      Wayne Padmore is a resident of Prince George's County, Maryland.

                  3.      Elizabeth Padmore is a resident of Prince George's County, Maryland.

                  4.      K        P         is a resident of Prince George's County, Maryland.

                  5.      Z    P           is a resident of Prince George's County, Maryland.

                  6.      T            P       is a resident of Prince George's County, Maryland.

                  7.      Erica Baker is a resident o                                             'ashington. :D.C.

                  8.      Defendant Atlas West End Silver Hill LLC ("Atlas") is a limited liability company duly

           organized under the laws of the State of Delaware, doing business in Prince George's County, Maryland.

                  9.      Defendant Atlas is the owner of a residential apartment complex located on the corner of

           Silver Hill Road and Terrace Drive in Suitland, Maryland. The apartment complex, known as the Silver

           Hill apartment community, is comprised of several buildings, including 3529 and 3527 Terrace Drive,

           Suitland, Maryland 20746 (hereinafter the "Property'2--Y), which share a common wall.

                  10.     The Pfet3,-e-r-ty"--93;',..q,9.1'ersace Ptiye'. 5.;, main door leads to four (4) residential apartment

           units that are accessed by way of interior doors. Apartments A and B are located on the first floor and

           Apartments C and D are located on the second floor at the top of a flight of stairs.

                  11.                               -Apartment E in 3527 Terrace Drive is located on the basement

           level of the building and is accessed by way of a separate exterior door.

                  12.     The Property is serviced by a fossil fuel fired boiler/hot water heater located in the


                                                                   3




                                                                                                                                   AXIS000304
(Page 46   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page46
                                                                           61ofof85
                                                                                  100

           Property's maintenance room (the Hot Water Heater), which is located on the basement level Aeo.-to

                          f 2529 Terrace Dive.

                    13.   Defendant Atlas West End Silver Hill Manager LLC ("Manager") is a limited liability

           company duly organized under the laws of the State of Delaware, doing business in Prince George's

           County, Maryland.

                    14.   At all times relevant to this Complaint, Defendant Atlas and Manager operated under an

           agreement charging Manager with the responsibility to manage the Silver Hill apartment community,

           including the Property. At all times relevant to this Complaint, Manager acted on behalf of and as agent

           for Atlas.

                    15.   Defendant Gates, Hudson & Associates, Inc. ("Gates") is a limited liability company duly

           organized under the laws of the State of Virginia, doing business in Prince George's County, Maryland

           as a property management company.

                    16.   At all times relevant to this Complaint, Defendant Gates operated under a contract with

           Atlas and/or Manager to manage and operate the day-to-day activities at the Property. At all times

           relevant to this Complaint, Gates acted on behalf of and as agent for Atlas and Manager.

                    17.   Defendant Andre Ferrell ("Mr. Ferrell") is a resident of Prince Georges County,

           Maryland.

                    18.   At all times relevant to this Complaint, Defendant Mr. Ferrell was an employee of

           Defendant Gates, serving as the Property's maintenance technician. At all times relevant to this

           Complaint, Mr. Ferrell acted on behalf of himself and as an agent of Defendants Atlas, Manager and

           Gates.

                    19.   Defendant Danielle Samuels ("Ms. Samuels") is a resident of Prince Georges County,

           Maryland.

                    20.   At all times relevant to this Complaint, Defendant Ms. Samuels was an employee of




                                                                                                                      AXIS000305
(Page   47   of   85)


                   Case
                  Case   1:22-cv-00030-DLB Document
                       1:22-cv-00769-BAH    Document70-8
                                                     4-1 Filed
                                                         Filed 01/07/22
                                                               02/14/24 Page
                                                                        Page47
                                                                             62ofof85
                                                                                    100

             Defendant Gates, serving as the Property's manager. At all times relevant to this Complaint, Defendant

             Ms. Samuels acted on behalf of herself and as an agent of Defendants Atlas, Manager and Gates.

                    21.       Defendants Atlas, Manager, Gates, Ferrell and Samuels were responsible for the

             operation, maintenance and safety of the Hot Water Heater, flue venting, condensate line drainage,

             associated machinery and through wall penetrations located in the mechanical room of the Property.

                    22.       Further, Atlas, Manager, Gates, Ferrell and Samuels were responsible for the maintenance

             and safety of the individual apartment units located within the Property, including, but not limited to, the

             units' fire and carbon monoxide safety alarms.

                    23.       Defendant G A Eberly, LLCCEberly          €s a limited I abili ty om anv_dr l organizes

             under_the laws of the Maryland doingbusiness in Prince George's Countv,.Marvland as aDiunibrng and

             heating contracting company. At all times relevant hereto. Eberly was responsible for the sale and/or

             installation of the Hot Water Heater. flue verrting. condensate line drainage and associated machinery.

                    =3,24 Defendant Capitol Boiler Works, Inc. ("Capitol") is a limited liability company duly

             organized under the laws of the State of Virginia, doing business in Prince George's County, Maryland

             as a mechanical service and mechanical contracting company. At all times relevant hereto, Capitol was

             responsible for the—ill+itallglefl; maintenance and service of the Hot Water Heater, flue venting,

             condensate line drainage and associated machinery pursuant to an agreement with the Property

             Defendants.

                          25. ,Defendant A.O. Smith ("A.O. Smith") is a corporation duly organized under the laws of

             the State of Delaware, doing business in Prince George's County, Maryland as a commercial hot water

             heater designer, manufacturer, and wholesaler.

                    2-572o. At all times relevant to this Complaint, Plaintiffs Wayne Padmore, Elizabeth Padmore,

             K      P         ,Z    P          T        P         and Erica Baker resided at the Property under their

             respective lease agreements with Defendant Gates. At all times relevant to this Complaint, Plaintiff Gary


                                                                  5




                                                                                                                            AXIS000306
(Page 48   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page48
                                                                           63ofof85
                                                                                  100

           Young resided at the Property as a guest.

                                                JURISDICTION AND VENUE

                            This Court has jurisdiction over this matter pursuant to inter alia, the provisions of MD.

           Code Ann., Cts. & Jud. Proc. § 1-501. This Court has personal jurisdiction over the Defendants pursuant

           to; inter cilia, the provisions of MD. Code Ann. Cts. & Jud. Proc. §§ 6-102 and 6-103.

                   2-77,28,___Venue in Prince George's County Maryland is proper pursuant to, inter cilia, the

           provisions of Md. Code Ann., Cts & Jud. Proc. §§ 6-201 and 6-202.

                                           FACTS COMMON TO ALL COUNTS

                   2&29,___Carbon monoxide is a gas that is found in the combustion fumes that are produced when

           gas or fossil fuels are used for cooking or heating water or heating rooms. If a person inhales combustion

           fumes, his/her red blood cells will pick up the carbon monoxide more quickly than it will pick up oxygen.

           As a result, if combustion fumes and the accompanying high levels of carbon monoxide fill a room and

           are inhaled, the carbon monoxide will replace the oxygen in the individual's blood stream, damage

           tissues, including, but not limited to, organ tissues and brain cells, and eventually lead to death.

                      ..30,__Because carbon monoxide is colorless, tasteless and odorless, it cannot be detected

           without a carbon monoxide detector alarm.         Carbon monoxide poisoning is the leading cause of

           accidental poisoning in the United States and, as a result, many states and cities throughout the country

           have passed laws that require carbon monoxide detectors in all homes.

                   30.31. In Maryland, MD. Code Ann. Pub. Safety, § 12-1101 et seq., requires that certain

           dwellings contain functioning carbon monoxide detectors. The Maryland statute allows cities and other

           municipalities to enact carbon monoxide detector laws that are more stringent than those set forth in the

           state statute.

                   31.32,....At all times relevant to this Complaint, Maryland state law required that the Property be

           equipped with carbon monoxide detectors: (1) outside and in the immediate vicinity of each separate


                                                                6




                                                                                                                         AXIS000307
(Page 49   of      85)


                    Case
                   Case   1:22-cv-00030-DLB Document
                        1:22-cv-00769-BAH    Document70-8
                                                      4-1 Filed
                                                          Filed 01/07/22
                                                                02/14/24 Page
                                                                         Page49
                                                                              64ofof85
                                                                                     100

           sleeping area; and (2) on every level of a unit, including the basement. § 12-1104(c) of Maryland, MD.

           Code Ann. Pub. Safety.
                         ey
                     32733 Prince George's County has recognized the dangers posed by carbon monoxide in any

           dwelling that uses gas or fossil fuel for heating, cooking, hot water or clothes-drying and has mandated

           that all property owners install carbon monoxide detectors in all leased residences that uses gas or fossil

           fuel.

                     33.3‘LSection 11-295 of the Building, Fire and Related Codes of Prince George's County (the

           "Building Code") requires that a carbon monoxide detector be provided and "must be installed near the

           access for each sleeping area in [any] dwelling," such as the Property, which "uses gas- or fossil-fuel for

           heating, cooking, hot water, or clothes-drying operations. ..."

                     3+35. Carbon monoxide detectors were not properly installed in the Plaintiffs' units at the

           Property in compliance with Section 11-295 et seq. of the Building Code and/or § 12-1104(c) of

           Maryland, MD. Code Ann. Pub. Safety.

                     3-5736. At all times relevant to the Complaint, Proper€y Defendants owned, operated, controlled,

           maintained and/or managed the Property and the individual apartments in which the Plaintiffs lived.

                              37 At all times relevant to this Complaint, as owners, operators, controllers, maintainers

           and/or managers of the Property, Property Defendants were subject to the carbon monoxide alarm

           mandate of the Building Code and Maryland state law.

                     37.38. ,Early in the week beginning January 20, 2019, some Plaintiffs began feeling ill, including

           suffering from headaches, nausea and/or fatigue.

                     38.39, Latt-i-a-the-evenifv.-en-W         'Elay-rJentiaw-233-2-4197-er-ink the early morning hours of

           Thursday, January 24, 2019, a carbon monoxide detector located in Plaintiff Erica Baker's ("Ms. Baker")

           basement apartment alarmed.

                     3940 _Ms. Baker called the Property's 24-hour emergency hotline and reported to Defendants


                                                                     7




                                                                                                                             AXIS000308
(Page 50   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page50
                                                                           65ofof85
                                                                                  100

           that her carbon monoxide detector had alarmed. Shortly thereafter, Defendant Mr. Ferrell returned Ms.

           Baker's emergency call and falsely told Ms. Baker that the reason her carbon monoxide detector had

           alarmed was because its battery was low and that a low carbon monoxide detector battery did not amount

           to an emergency.

                   49.41. During regular business hours of Thursday, January 24, 2019, Ms. Baker made a follow

           up telephone call to the Property's leasing office regarding her carbon monoxide detector having

           alarmed.

                   41-42. On Thursday, January 24, 2019, hours after the detector had alerted to the presence of

           carbon monoxide, Mr. Ferrell entered Ms. Baker's apartment and changed the battery in her carbon

           monoxide detector. The Property Defendants took no steps to investigate whether carbon monoxide was

           leaking into the Property despite being on actual notice of the presence of carbon monoxide within the

           living spaces of Plaintiffs.

                   4243 On Saturday, January 26, 2019, Ms. Baker suffered from a headache. On that same day,

           January 26, 2019, the carbon monoxide detector in Ms. Baker's apartment alarmed again, whereupon

           Ms. Baker went to the Property's leasing office and reported the alarm to Defendant Ms. Samuels, an

           agent of Defendants Gates, Atlas and Manager. Also present, was the regional manager for Defendant

           Gates, Mia Smith, who is an agent of Gates.

                   X13.44. Mia Smith stated to Ms. Samuels that she, Ms. Samuels, needed to "follow up on this,"

           evidencing the Property Defendants' actual notice of the ongoing carbon monoxide leak within the

           Property and the hazardous condition it presented to Plaintiffs.

                   44,45, Neither Danielle Samuels nor Mia Smith took any action to verify the presence of carbon

           monoxide in the Property, investigate the source of the carbon monoxide in the Property, notify the

           Prince George's County Fire Department/EMS ("PGFD") of the report of an alarmed carbon monoxide

           detector and/or evacuate the residents of the Property.


                                                               8




                                                                                                                    AXIS000309
(Page 51   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page51
                                                                           66ofof85
                                                                                  100

                      4&A6._In response to Ms. Baker reporting her carbon monoxide detector's repeated alarm,

           Defendants elected to disable her carbon monoxide detector so that it would no longer alarm in the

           presence of carbon monoxide.

                      46-.47. Defendant Mr. Ferrell disabled Ms. Baker's carbon monoxide detector on Saturday,

           January 26, 2019. Mr. Ferrell, acting on behalf of himself and the Property Defendants, intentionally

           disabled the carbon monoxide detector while he knew or should have known that a carbon monoxide

           release into the Property was occurring. Further, Defendants took no action to investigate the source of

           the carbon monoxide present in Ms. Baker's apartment unit or any other area of the Property, including

           the common areas and/or individual units where Plaintiffs lived, or alert the fire department.

                      4-7-418,___On Sunday, January 27, 2019, the PGFD responded to an emergency call to the Property.

                      4,S-.49. The PGFD detected dangerous levels of carbon monoxide in the Property, including

           levels as high as 300 parts per million ("PPM").

                      49-590 ___As a result of the dangerous elevated readings of carbon monoxide, the Property was

           evacuated.

                       a 51. The PGFD determined that the source of the carbon monoxide was the Hot Water Heater

           located in the Property's mechanical room situated on the basement level of the--Pfepaft-y.-3529 Terrace

           Road.

                      51.52. On Sunday, January 27, 2019, Defendant Capitol responded to the Property to determine

           what caused the Hot Water Heater to emit carbon monoxide into the interior of the Property and make

           repairs.

                         53 Capitol noted on its invoice for the January 27, 2019 service call that the Hot Water

           IIeater's condensate pipe, installed for the purpose of safely draining away excess moisture, was full of

           water and not properly installed. The condensate line was improperly slopped towards the unit, causing

           water to improperly collect in the condensate pipe.


                                                                 9




                                                                                                                         AXIS000310
(Page 52   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page52
                                                                           67ofof85
                                                                                  100

                  5.475 . Capitol had previously noted the defective condition of the condensate lines when it

           visited the Property for a service call on March 12, 2018, which is over ten months prior to the carbon

           monoxide poisoning described above.

                  5,1.55. Despite being on actual notice of water improperly collecting in the Hot Water Heater's

           condensate line as early as March 12, 2018, Capitol did nothing to investigate the cause and/or correct

           what was causing the hazardous condition.

                  55.5€≥While Capitol notified the Property Defendants that the Hot Water Heater's condensate

           lines were improperly filling with water in March of 2018, Property Defendants did nothing to

           investigate the cause and/or correct what was causing the condition.

                  56.57,__During the period of time immediately before the January 2019 carbon monoxide

           poisoning described above, excess water collected in the Hot Water Heater's condensate line froze,

           causing the Hot Water Heater's exhaust flu to become restricted and/or blocked.

                  .57,58 _Despite having a restricted and/or blocked exhaust flu, the Hot Water Heater continued

           to run (burn fossil fuel), creating combustion gases, including deadly carbon monoxide gas.

                          The restricted and/or blocked Hot Water Heater exhaust flue coupled with the running

           Hot Water Heater increased pressure in the flu to such a degree that the Hot Water Heater's flu pipe

           popped off its fitting, releasing combustion gases, including deadly carbon monoxide, into the interior

           of the Property.

                  59.60. The Hot Water Heater was designed and manufactured by Defendant A.O. Smith.

                      6 1. A.O. Smith represented that the Hot Water Heater was designed to have and incorporated

           certain safety features, including an electronic control system designed to detect the presence of

           operational problems with the Hot Water Heater and its flue venting, drainage and associated machinery.

                  6.1.E ..?....According to A.O. Smith's intended design, in the event the Hot Water Heater's control

           system detects that the Hot Water Heater's combustion gas exhaust flu is blocked or restricted, the Hot


                                                              10




                                                                                                                        AXIS000311
(Page 53   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page53
                                                                           68ofof85
                                                                                  100

           Water Heater will generate a "Fault/Alert" message on an exterior panel and shut the Hot Water Heater's

           fossil fuel combustion off, eliminating further creation of carbon monoxide.

                  62763. A "Fault/Alert" generated from a blocked or restricted exhaust flu includes messages to

           users to "ensure condensate hose is draining" and to "call a service professional."

                  43764. ,The presence of a "Fault/Alert" generated from a blocked or restricted combustion gas

           exhaust flu is designed to render the Hot Water Heater incapable of refiring unless and until its control

           system is reset.

                  64.65 Despite the presence of a blocked and/or restricted exhaust flu the week of January 20,

           2019, the Hot Water Heater's electronic control system's safety feature failed to detect the presence of

           the restricted and/or blocked flu; failed to generate a "Fault/Alert" warning a user of the hazard; and/or

           failed to shut the Hot Water Heater off.

                  65.66. Despite the PGFD's determination that carbon monoxide had migrated from the

           mechanical room and into Plaintiffs' apartment units and the Property's common areas, and that the

           source of the carbon monoxide was the Hot Water Heater, Mr. Ferrell, on behalf of Defendants, falsely

           stated to Ms. Baker that there had not been a carbon monoxide leak, attributing the Property's evacuation

           by the PGFD to a broken "steam pipe."

                  66767. For a period of at least a week, the Hot Water Heater operated and maintained by Property

           Defendants and manufactured and installed by A.O. Smith and C-api-44Eberlsfl, respectively, discharged

           carbon monoxide directly into the interior of the Property rather than discharging the combustion gasses

           out of the Property.

                  64,68, Carbon monoxide migrated from the Property's mechanical room 40-through numerous

           through wall penetrations into the Plaintiffs' residential units and throughout the Property for various

           reasons, including, but not limited to, the Property Defendants' failure to properly maintain the Hot

           Water Heater, flue venting, condensate lines, associated machinery and through wall penetrations located


                                                              11




                                                                                                                        AXIS000312
(Page 54    of   85)


                  Case
                 Case   1:22-cv-00030-DLB Document
                      1:22-cv-00769-BAH    Document70-8
                                                    4-1 Filed
                                                        Filed 01/07/22
                                                              02/14/24 Page
                                                                       Page54
                                                                            69ofof85
                                                                                   100

           in the mechanical room; the Property Defendants' failure to shut down the system when it became clear

           that the venting system failed, allowing carbon monoxide to escape into the Property; the Property

           Defendants' failure to place functioning carbon monoxide detectors in the Property in compliance with

           Maryland State law and the Building Code; Defendant         A-G~Ssses-s-featy-desiga-and- manaineture- oF
           the-4--iet--W-atei:-Featef--aild-Gapit-&-4Eberiv Ls faulty installation of the Hot Water Heater, venting system,

           condensate lines and associated machinery7- Defendant A.O. Smith's faulty design and manufacture of

           the Hot Water Heater and Capitol's faulty and improper mainten           c of the Hot Water :Heater. venting

           System. condensate li nes and associated machinery.,

                   684-59,___All Defendants' failures proximately caused Plaintiffs' carbon monoxide poisoning.

                   64,70,.jor a period of at least a week, Plaintiffs were exposed to and inhaled high levels of

           carbon monoxide, a toxic gas.

                   70.71. As a result of the carbon monoxide poisoning, Plaintiffs were treated by paramedics at

           the scene and later transported by ambulance to the hospital and, in some cases, subsequently transferred

           to University of Maryland Medical Center Shock Trauma Unit ("Shock Trauma") for medical evaluation

           and hyperbaric treatment.

                   74 72. A person's carboxyhemoglobin level is a measure of the amount of carbon monoxide

           which has been absorbed into the blood stream.

                   :7-2-.73. At the time the PGFD checked Plaintiff Gary Young, he had a carboxyhemoglobin level

           of 27% as well as an elevated heart rate and blood pressure. Mr. Young had become severely ill in the

           days leading up to January 27, ultimately losing consciousness that day, because of the toxic levels of

           carbon monoxide in iii the apartment where he slept. Mr. Young was transferred to Shock Trauma and

           treated in the facility's hyperbaric chamber.

                   73.74. At the time the PGFD checked Plaintiff Wayne Padmore, he had a carboxyhemoglobin

           level of 25%. Mr. Padmore suffered from nausea, vomiting and a headache during the four (4) days


                                                                 12




                                                                                                                              AXIS000313
(Page   55   of   85)


                   Case
                  Case   1:22-cv-00030-DLB Document
                       1:22-cv-00769-BAH    Document70-8
                                                     4-1 Filed
                                                         Filed 01/07/22
                                                               02/14/24 Page
                                                                        Page55
                                                                             70ofof85
                                                                                    100

             leading up to January 27, including vomiting in front of the PGFD that day, because of the toxic levels

             of carbon monoxide in his apartment. Mr. Padmore was transferred to Shock Trauma and treated in the

             facility's hyperbaric chamber.

                     74.75. At the time the PGFD checked Plaintiff Elizabeth Padmore, she had a carboxyhemoglobin

             level of 23%. Ms. Young had become severely ill in the days leading up to January 27 because of the

             toxic levels of carbon monoxide in her apartment. Ms. Padmore was transferred to Shock Trauma and

             treated in the facility's hyperbaric chamber.

                        76 Twin Plaintiffs K            P              and Z    P       , both six years old at the time of the

             incident, were poisoned with carbon monoxide that had migrated into their apartment. The PGFD was

             unable to take a carboxyhemoglobin level for the twins at the time the PGFD responded to the Property,

             however, both children were tested hours later at the hospital.

                     76.77. Plaintiff K         P           s carboxyhemoglobin level was 3.8% at 3:53 a.m., hours after

             being evacuated from the Property. K             P            was transferred to Shock Trauma and treated in the

             facility's hyperbaric chamber.

                         8.,__Plaintiff Z   P               carboxyhemoglobin level was 3.9% at 4:34 a.m., hours after

             being evacuated from the Property. Z            P            was transferred to Shock Trauma and treated in the

             facility's hyperbaric chamber.

                        79. Plaintiff T             P            who was three years old at the time of the incident, was

             poisoned with carbon monoxide that had migrated into her apartment. The PGFD was unable to take a

             carboxyhemoglobin level for T              at the time the PGFD responded to the Property, however, she was

             tested hours later at the hospital.

                     7-9780. _plaintiff T           P            carboxyhemoglobin level was 3.3% at 3:49 a.m., hours after

             being evacuated from the Property. T                  P           was transferred to Shock Trauma and treated in

             the facility's hyperbaric chamber.


                                                                         13




                                                                                                                                  AXIS000314
(Page 56   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page56
                                                                           71ofof85
                                                                                  100

                  84181. __At the time the PGFD checked Plaintiff Erica Baker on the night PGFD responded to the

           Property, she had a carboxyhemoglobin level of 11%. Plaintiff Erica Baker's basement level apartment

           at the Property                        shared a wall with a mechanical room that shared a wall with the

           mechanical room that housed the Hot Water Heater. The mechanical room€ that housed the Hot Water

           Heater had numerous penetrations throug.h its walls and ceilitn,_providing a direct path for the carbon

           monoxide to migrate tt€o Plaintiffs. apartment units. On more than one occasion, Ms. Baker notified

           Defendants that a carbon monoxide detector located in her apartment had alarmed. On each occasion

           that Ms. Baker complained of the alarm sounding, Defendants assured her that there had not been a

           carbon monoxide leak and that there was no danger. Ms. Baker had become severely ill in the days

           leading up to January 27 because of the high levels of carbon monoxide in her apartment.

                  81.82. All Plaintiffs suffered organ damage and a toxic brain injury as a result of this carbon

           monoxide poisoning, resulting in difficulty with balance, endurance, reasoning, judgment, attention,

           memory, communication and/or cognitive abilities.

                  ?,-2783. _Plaintiffs suffered and continue to suffer severe and permanent injuries from carbon

           monoxide poisoning and exposure.

                                                COUNT I: NEGLIGENCE
                                            (Plaintiffs v. Property Defendants)
                  83.84. Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                  81.85 _Property Defendants owed a duty to Plaintiffs as occupants, guests and/or lessees of the

           Property, to exercise reasonable care, and to provide a safe and healthy environment.

                  85.8€i. Property Defendants breached their duty by, inter alia (a) installing and/or operating a

           venting system that did not maintain a positive air flow adequate to remove flue or vent gasses from the

           Hot Water Heater to the outside atmosphere; (b) installing or maintaining a draft system which did not



                                                              14




                                                                                                                        AXIS000315
(Page   57   of     85)


                     Case
                    Case   1:22-cv-00030-DLB Document
                         1:22-cv-00769-BAH    Document70-8
                                                       4-1 Filed
                                                           Filed 01/07/22
                                                                 02/14/24 Page
                                                                          Page57
                                                                               72ofof85
                                                                                      100

             prevent leakage of flue or vent gases into the interior of the Property; (c) failing to provide for an effective

             interlock system to prevent the flow of fuel to the Hot Water Heater when the mechanical draft system

             was not performing; (d) failing to properly inspect or maintain the Hot Water Heater so that it would

             operate without producing excessive amounts of carbon monoxide; (e) failing to properly install, inspect,

             maintain and/or repair the Hot Water Heater's vent ducts and condensate lines; (t) failing to comply with

             local and state, and/or federal laws requiring the Hot Water Heater to be interlocked so that they cannot

             operate without proven airflow; (g) failing to install carbon monoxide detectors on the premises in

             accordance with Maryland State law and the Building Code; (h) failing to comply with the Hot Water

             Heater manufacturer's maintenance and inspection instructions; (i) intentionally disabling the carbon

             monoxide detector that had alarmed to the presence of carbon monoxide in Ms. Baker's unit; (j) failing

             to investigate what caused Ms. Baker's carbon monoxide detector to alarm; and (k) failing to evacuate

             the Property after Ms. Baker's carbon monoxide detector alarmed.

                          87 Property Defendants knew or should have known that a breach of these duties would

             result in exposing Plaintiffs to deadly levels of carbon monoxide, creating an unreasonable risk of

             physical harm to the Plaintiffs.

                      84,88 A carbon monoxide detector was present on the Property, albeit not in compliance with

             state and local laws, and went off days prior to the incident in question, however, Property Defendants

             did nothing to address the level of carbon monoxide in the Property and/or stop the leakage of the deadly

             gas.

                      88789. Prior to the date of this incident, Property Defendants knew that a carbon monoxide

             detector had alarmed; yet took no action to discover why the detector had alarmed, or whether carbon

             monoxide was in the Property. Instead, Property Defendants shockingly disabled the alarm, causing

             carbon monoxide to continue to seep throughout Plaintiffs' homes undetected.

                          SO Property Defendants had a non-delegable duty to install carbon monoxide detectors in


                                                                   15




                                                                                                                                AXIS000316
(Page 58    of   85)


                  Case
                 Case   1:22-cv-00030-DLB Document
                      1:22-cv-00769-BAH    Document70-8
                                                    4-1 Filed
                                                        Filed 01/07/22
                                                              02/14/24 Page
                                                                       Page58
                                                                            73ofof85
                                                                                   100

           compliance with Maryland State law and the Building Code. Defendants knew or should have known

           that carbon monoxide detectors were installed in violation of the state and local law, presented an

           unreasonable risk to the health and safety of the Plaintiffs and social guests in the Property and created

           a false sense of safety for the Plaintiffs.

                   90,91 Property Defendants breached their duty to the Plaintiffs by failing to supply and install

           carbon monoxide detectors in compliance with Maryland State law and the Building Code and disabling

           the carbon monoxide detector that did alarm to the presence of the deadly gas. These breaches of duty

           created an unreasonable risk of physical harm to the Plaintiffs and social guests in the Property.

                   9-1-.92,___The Property Defendants knew or should have known that a breach of these duties would

           result in exposing the residents and social guests, including the Plaintiffs, to dangerous levels of carbon

           monoxide, creating an unreasonable risk of physical harm to the Plaintiffs.

                   92.93. As a proximate and foreseeable result of the negligent failure to properly supply, install

           and maintain carbon monoxide detectors in compliance with state and local law, deadly carbon monoxide

           gas was introduced into the Property, where it was inhaled by the Plaintiffs, causing damages, including

           but not limited to: brain damage, organ damage, memory deficits, mental anguish, emotional pain and

           suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other injuries and damages to be proven at trial.

                   93.94. The Property Defendants breached their duties owed to the Plaintiffs, and the Property

           Defendants' conduct resulted in the release of deadly carbon monoxide that physically harmed the

           Plaintiffs.

                         95. The mechanical room, including, but not limited to, the Hot Water IIeater, venting

           system, condensate lines and exhaust gas flue, were, at all times relevant hereto, under the exclusive

           control of Property Defendants.


                                                               16




                                                                                                                         AXIS000317
(Page 59   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page59
                                                                           74ofof85
                                                                                  100

                     9&:96. The release of deadly levels of carbon monoxide from the mechanical room was the type

           of accident which does not ordinarily occur unless the persons exercising control have been negligent.

                        97 The Property Defendants' negligence was a direct and proximate cause of the Plaintiffs'

           permanent injuries. The Plaintiffs are entitled to recover damages including, but not limited to, pain and

           suffering, lost wages, loss of earning capacity, medical expenses and damages for all other losses and

           injuries caused by Property Defendants.

                     97.q_All of these damages were the result of wrongful conduct of the Property Defendants

           without any negligence by the Plaintiffs, including the negligent failure of the Property Defendants to

           supply, install and maintain carbon monoxide detectors in compliance with state and local law.

                       .99,____The above negligent acts caused Plaintiffs to suffer personal injuries and to continue to

           suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and suffering,

           depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other injuries, without any negligence on the part

           of any Plaintiff contributing thereto. All of the aforesaid damages are the result of the wrongful conduct

           by Property Defendants.

                     WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together with punitive

           damages, attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                             COUNT II: PREMISES LIABILITY
                                              (Plaintiffs v. Property Defendants)
                     44-100        Plaintiffs incorporate by reference and re-allege the allegations contained in the



                                                                17




                                                                                                                           AXIS000318
(Page 60   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page60
                                                                           75ofof85
                                                                                  100

           preceding and subsequent paragraphs.

                  47407101.        At all times relevant to this Complaint, Plaintiffs were lawfully in their units as

           occupants, guests and/or lessees of the Property.

                  1-Q4.101.        The Property Defendants owed a duty to Plaintiffs as occupants, guests and/or

           lessees of the Property, to inter alia, maintain the Hot Water Heater, the mechanical room, venting

           system, condensate lines and flue system.

                                   Property Defendants owed a duty to provide a safe environment for their lessees

           and guests.

                  -1#1.3;104.,__   Property Defendants' owed duty to provide a safe environment for lessees and

           guests is non-delegable.

                  4447105.         The Property Defendants breached their duty by, inter alia (a) installing and/or

           operating a venting system that did not maintain a positive air flow adequate to remove flue or vent

           gasses from the Hot Water Heater to the outside atmosphere; (b) installing or maintaining a draft system

           which did not prevent leakage of flue or vent gases into the interior of the Property; (c) failing to provide

           for an effective interlock system to prevent the flow of fuel to the Hot Water Heater when the mechanical

           draft system was not performing; (d) failing to properly inspect or maintain the Hot Water Heater so that

           it would operate without producing excessive amounts of carbon monoxide; (e) failing to properly install,

           inspect, maintain and/or repair the Hot Water Heater's vent ducts and condensate lines; (f) failing to

           comply with local and state, and/or federal laws requiring the Hot Water Heater to be interlocked so that

           they cannot operate without proven airflow; (g) failing to install carbon monoxide detectors on the

           premises in accordance with Maryland State law and the Building Code; (h) failing to comply with the

           Ilot Water IIeater manufacturer's maintenance and inspection instructions; (i) intentionally disabling the

           carbon monoxide detector that had alarmed to the presence of carbon monoxide in Ms. Baker's unit; (j)

           failing to investigate what caused Ms. Baker's carbon monoxide detector to alarm; and (k) failing to


                                                                18




                                                                                                                           AXIS000319
(Page 61   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page61
                                                                           76ofof85
                                                                                  100

           evacuate the Property after Ms. Baker's carbon monoxide detector alarmed.

                   -144-571.06.     Property Defendants knew or should have known that a breach of these duties

           would result in exposing the Plaintiffs to deadly levels of carbon monoxide, creating an unreasonable

           risk of physical harm to the Plaintiffs.

                   4-067107.        Property Defendants breached their duties owed to Plaintiffs, and Property

           Defendants' conduct resulted in the release of deadly carbon monoxide that physically harmed the

           Plaintiffs.

                   4477108_         The Plaintiffs could not, by using any degree of ordinary care, have discovered

           the defects at the Property.

                         -1.09.     The Property Defendants' conduct was a direct and proximate cause of Plaintiffs'

           permanent injuries. The Plaintiffs are entitled to recover damages including, but not limited to, pain and

           suffering, lost wages, loss of earning capacity, medical expenses and damages for all other losses and

           injuries caused by the Property Defendants.

                   4-0-971 l0.     wThe release of deadly levels of carbon monoxide from the mechanical room was

           the type of accident which does not ordinarily occur unless the persons exercising control have been

           negligent.

                   -1--1.0:11:1.    The above intentional and grossly negligent acts caused Plaintiffs to suffer

           personal injuries and to continue to suffer brain damage, brain injury, memory deficits, mental anguish,

           emotional pain and suffering, depression, cognitive and emotional deficits, sleep problems, fatigue,

           severe headaches, mood fluctuations, physical anxiety symptoms, decreased interest in usual activities,

           and social withdrawal, medical bills, lost wages, future loss of earnings, and other injuries, without any

           negligence on the part of any Plaintiff contributing thereto. All of the aforesaid damages are the result

           of the wrongful conduct by Property Defendants.

                   WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and


                                                               19




                                                                                                                        AXIS000320
(Page 62   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page62
                                                                           77ofof85
                                                                                  100

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together with punitive

           damages, attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                             COUNT III: STRICT LIABILITY
                                               (Plaintiffs v. Property Defendants)
                     44-1,112.    Plaintiffs incorporate by reference and re-allege the allegations contained in the

           preceding and subsequent paragraphs.

                     112,113.     At all times relevant to this Complaint, Plaintiffs were lawfully in their units as

           occupants, guests and/or lessees at the Property.

                     44-3,114.    Property Defendants owed a duty to Plaintiffs as occupants, guests and/or lessees

           of the Property, to inter alia, maintain the Hot Water Heater, the mechanical room, venting system,

           condensate lines and flue system.

                     1-11,115,    Property Defendants owed Plaintiffs a non-delegable duty to provide a safe
                                                      z
           environment for its lessees-: and foreseeable guests.

                     1+5,116.     Property Defendants had control of the Hot Water Heater system and mechanical

           room at the Property. Property Defendants engaged in an abnormally dangerous activity, which exposed

           Plaintiffs to an unreasonable risk of harm, by, inter alia (a) installing and/or operating a venting system

           that did not maintain a positive air flow adequate to remove flue or vent gasses from the Hot Water

           Heater to the outside atmosphere; (b) installing or maintaining a draft system which did not prevent

           leakage of flue or vent gases into the interior of the Property; (c) failing to provide for an effective

           interlock system to prevent the flow of fuel to the Hot Water Heater when the mechanical draft system

           was not performing; (d) failing to properly inspect or maintain the Hot Water Heater so that it would

           operate without producing excessive amounts of carbon monoxide; (e) failing to properly install, inspect,



                                                               20




                                                                                                                         AXIS000321
(Page 63   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page63
                                                                           78ofof85
                                                                                  100

           maintain and/or repair the Hot Water Heater's vent ducts and condensate lines; (t) failing to comply with

           local and state, and/or federal laws requiring the Hot Water Heater to be interlocked so that they cannot

           operate without proven airflow; (g) failing to install carbon monoxide detectors on the premises in

           accordance with Maryland State law and the Building Code; (h) failing to comply with the Hot Water

           Heater manufacturer's maintenance and inspection instructions; (i) intentionally disabling the carbon

           monoxide detector that had alarmed to the presence of carbon monoxide in Ms. Baker's unit; (j) failing

           to investigate what caused Ms. Baker's carbon monoxide detector to alarm; and (k) failing to evacuate

           the Property after Ms. Baker's carbon monoxide detector alarmed.

                         17,       The Property Defendants breached their duty by failing to protect its lessees And.

           their gy.fz. ts from exposure to carbon monoxide gas.

                  4+77118.         As a proximate and foreseeable result of Property Defendants' abnormally

           dangerous activity of failing to repair and/or maintain the Hot Water Heater system, flu vent, condensate

           lines and related machinery, while on actual notice of the systems' faulty installation, the Hot Water

           Heater malfunctioned and emitted deadly carbon monoxide gas into Plaintiffs' units.

                  -14-&-119.       As a further proximate and foreseeable result of Property Defendants' abnormally

           dangerous activity of disabling a carbon monoxide detector located on the Property, the carbon monoxide

           detector failed to alarm Plaintiffs to the presence of deadly carbon monoxide, extending the time each

           Plaintiff was exposed to the deadly gas.

                                __As a result of Plaintiffs inhaling the emitted carbon monoxide, Plaintiffs incurred,
           inter alia, pain and suffering, lost wages, loss of earning capacity, and medical expenses and damages.

                  -1-.24.1 1.      All of the aforesaid damages were the result of the wrongful conduct of Property

           Defendants without any negligence by the Plaintiffs.

                      .122.        The above intentional and grossly negligent acts were wanton and reckless and

           were with complete disregard to the health safety and well-being of Plaintiffs. Plaintiffs have suffered


                                                                21




                                                                                                                         AXIS000322
(Page 64   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page64
                                                                           79ofof85
                                                                                  100

           serious and painful injuries that are permanent in nature. The above intentional and grossly negligent

           acts caused Plaintiffs to suffer personal injuries and to continue to suffer brain damage, brain injury,

           memory deficits, mental anguish, emotional pain and suffering, depression, cognitive and emotional

           deficits, sleep problems, fatigue, severe headaches, mood fluctuations, physical anxiety symptoms,

           decreased interest in usual activities, and social withdrawal, medical bills, lost wages, future loss of

           earnings, and other injuries, without any negligence on the part of any Plaintiff contributing thereto.

                     WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together with punitive

           damages, attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                            COUNT IV: PUNITIVE DAMAGES
                                              (Plaintiffs v. Property Defendants)
                     -1-22 1 z 3   Plaintiffs incorporate by reference and re-allege the allegations contained in the

           preceding and subsequent paragraphs.

                                   Property Defendants owed a duty under Maryland common law as well as State

           and local regulations to provide a safe living environment and to properly supply and install carbon

           monoxide detectors in all its units, including Plaintiffs' units. Portions of the Property an- Plaintiffs'

           units either lacked a carbon monoxide detector entirely or included a carbon monoxide detector that

           failed to comply with Maryland State law and the Building Code. Further, on more than one occasion

           prior to this incident, Property Defendants told one or more residents it was safe to go back into their

           unit when a carbon monoxide detector had alarmed.

                     4.247125.     Further, Property Defendants disabled a carbon monoxide detector that had

           alarmed to the presence of carbon monoxide.



                                                               22




                                                                                                                        AXIS000323
(Page 65   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page65
                                                                           80ofof85
                                                                                  100

                  -1.2:-:126.     Property Defendants knew or should have known that if a carbon monoxide

           detector(s) alarms, the Property evacuated and all potential areas where carbon monoxide gas can

           potentially emanate should be checked and rechecked for potential leakage. Property Defendants'

           intentional disabling of a carbon monoxide detector that had alarmed and Property Defendants' failure

           to check the potential sources of carbon monoxide leakage is in direct violation of Maryland law and the

           Building Code regarding the safety of its residents and is so gross and wanton, under the facts, as to

           entitle Plaintiffs to punitive damages.

                                  As a result of the above conduct, Property Defendants' actions were in violation

           of the State and Local regulations and created a substantial risk of death or serious physical injury to

           Plaintiffs and others. Such violation of a statutory duty establishes a prima facie case and demonstrates

           a reckless disregard for Plaintiffs' safely, entitling Plaintiffs to punitive damages.

                      :128.       As a result of Property Defendants' reckless actions, Plaintiffs suffered personal

           injuries and to continue to suffer brain damage, brain injury, memory deficits, mental anguish, emotional

           pain and suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe

           headaches, mood fluctuations, physical anxiety symptoms, decreased interest in usual activities, and

           social withdrawal, medical bills, lost wages, future loss of earnings, and other injuries, without any

           negligence on the part of any Plaintiff contributing thereto.

                      -129.       Property Defendants' intentional failure to properly install the carbon monoxide

           detectors, intentional disabling of a carbon monoxide detector that had alarmed to the presence of carbon

           monoxide and failure to investigate the potential sources of the carbon monoxide leakage and evacuate

           the Property when its management crew had more than enough notice is a direct and proximate cause of

           Plaintiffs' physical injuries and mental suffering.

                       13         As a direct result of Property Defendants' aforesaid conduct, Plaintiffs seek

           punitive damages.


                                                                 23




                                                                                                                       AXIS000324
(Page 66   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page66
                                                                           81ofof85
                                                                                  100

                   WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs punitive damages in an amount in excess of $75,000.00, together with attorney's

           fees, costs and expenses of this lawsuit and such other relief as the Court may deem proper.

                                                      COUNT V: BATTERY
                                                (Plaintiffs v. Property Defendants)
                   130.131.          Plaintiffs incorporate by reference and re-allege the allegations contained in the

           preceding and subsequent paragraphs.

                   -11-34-132        Such intentional and deliberate acts by Property Defendants and/or the agents,

           servants, and/or employees of Property Defendants, were foreseeable by Property Defendants and

           performed with actual malice and caused the Hot Water Heater to continue to operate while spewing

           carbon monoxide at increasing levels into the mechanical room, into the Plaintiffs' units, and, ultimately,

           into Plaintiffs' lungs.

                   -1--32.1.33.      Such intentional and deliberate actions by Property Defendants and/or the agents,

           servants, and/or employees of Property Defendants, constituted an offensive, intentional touching of

           Plaintiffs and was without the consent of Plaintiffs.

                   133.134.          Such intentional and deliberate actions by Property Defendants and/or the agents,

           servants, and/or employees of Property Defendants caused Plaintiffs to suffer personal injuries and to

           continue to suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and

           suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other injuries, without any negligence on the part

           of any Plaintiff contributing thereto.

                   WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and



                                                                 24




                                                                                                                          AXIS000325
(Page 67   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page67
                                                                           82ofof85
                                                                                  100

           against Property Defendants, finding Property Defendants jointly and severally liable to Plaintiffs and

           awarding Plaintiffs compensatory damages in an amount in excess of $75,000.00, together with punitive

           damages, attorney's fees, costs and expenses of this lawsuit and such other relief as the Court may deem

           proper.

                                                  COUNT VI: NEGLIGENCE
                                                       (Plaintiffs v. Capitol)
                     444,135.      Plaintiffs incorporate by reference and re-allege the allegations contained in the

           preceding and subsequent paragraphs.

                            136.   At all times relevant herein, Defendant Capitol, including, but not limited to, their

           agents, servants and/or employees, were in the business of selling, distributing, installing, maintaining,

           altering, and repairing water heaters and related flue venting, condensate lines and associated machinery.

                     -1:36137.     Defendant Capitol, including but not limited to their agents, servants and/or

           employees, 111-af-keted-,---344--and-performed the in-s-tallatiefi-ef-the Hot Water-Flea4eF3-including, but-ni-4.t

                      to„                                                          -associatek 4ilachiPery---as---    11--

           per-feitinedmaintenance. inspections, modifications, alterations, and repairs to the Hot Water Heater, its

           flu venting system, condensate lines and associated machinery, prior to, during andlo- after the Hot

           Water Heater's installation.

                     4.377138.     While staying at the Property, Plaintiffs were consumers who used the Hot Water

           Heater for hot water and were in close proximity to its operation.

                                   It was foreseeable to Defendant Capitol, including but not limited to their agents,

           servants and/or employees, that if the Hot Water Heater was used with the method of installation used

           at the Property, used with the method of service and maintenance provided by Capitol, or if it was used

           in a situation where persons would be in close proximity to it, it would result in a dangerous condition

           that would be hazardous to others.



                                                                  25




                                                                                                                                AXIS000326
(Page 68   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page68
                                                                           83ofof85
                                                                                  100

                  4-397140.       At all relevant times herein, Defendant Capitol, including but not limited to their

           agents, servants and/or employees, owed Plaintiffs a duty to use reasonable care in Ifejt-041-Tellaintaininu,

           inspecting, modifying, repairing, and maintaining the Hot Water Heater and related flue venting,

           condensate lines and associated machinery.

                  4407141.        Defendant Capitol, including, but not limited to, their agents, servants and/or

           employees, breached their duty of care owed to Plaintiffs and other users of the hot water heating system

           at the Property when they acted in a negligent manner including, but not limited to, the following:

                                  (a)     Failing to use reasonable care to 4,1-1841-17-inspect, repair, modify and/or

                          maintain the Hot Water Heater, flue venting, condensate lines, and associated machinery

                          in a manner that was safe for its intended and foreseeable use, not defective and/or not

                          unreasonably dangerous;

                                  (b)     Failing to use reasonable care to adequately warn foreseeable users;

                          ptifehoser-s and individuals such as the Plaintiffs who would be in close proximity to

                          and/or impacted by the operation of the Hot Water Heater, of the dangers and potential

                          dangers that were known and/or reasonably foreseeable and/or suspected in connection

                          with the Hot Water Heater and/or its use, including but not limited to carbon monoxide

                          poisoning;

                                  (c)     Failing to timely discover and/or correct the defects and/or dangerous

                          condition existing with the Hot Water Heater and related flue venting, condensate lines,

                          and associated machinery;

                                  (d)     Failing to comply with and/or use reasonable care to comply with the

                          standards of care, including accepted industry standards, connected to the i

                          maintenance of the Hot Water Heater and related flue venting, condensate lines, and

                          associated machinery;


                                                                26




                                                                                                                           AXIS000327
(Page 69   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page69
                                                                           84ofof85
                                                                                  100

                                 (e)        Failing to provide proper instructions for the safe use, i tite4latie ;

                          adjustment, and maintenance of the Hot Water Heater, including but not limited to, how

                          to respond to fault codes generated by the Hot Water Heater's control system;

                                 (1)        Failing to use reasonable care to timely recall, correct or otherwise prevent

                          the continued use of the Hot Water Heater installed in a defective and/or unreasonably

                          dangerous condition;

                                 (g)        Failing to use reasonable care to investigate and correct the cause of water

                          accumulating in the Hot Water Heater's condensate lines;

                                 (h)        Failure to use reasonable care to make the Hot Water Heater safe and/or

                          incorporate safeguards to ensure the Hot Water Heater and related flue venting,

                          condensate lines, and associated machinery were safe, not defective and/or unreasonably

                          dangerous, including but not limited to, the accumulation of water in the condensate lines,

                          the blockage of the flu, the production of dangerous and/or lethal levels of carbon

                          monoxide and/or the ability of the flu pipe to become disconnected while operating;

                                 (0         Failing to provide adequate warnings regarding known or reasonably

                          foreseeable misuses of the Hot Water Heater or instructions regarding the safe use of the

                          Hot Water Heater;

                                            Failing to properly i.M1-- €l-maintain the Hot Water Heater in a manner

                          so as not to render it defective and/or unreasonably dangerous; and

                                (k)         Failing to install ,;+144e-F--maintain the Hot Water Heater in the manner

                          consistent with the applicable codes, regulations, industry standards, and manufacturer's

                          specifications.

                  44-1-,142.     Defendant Capitol, including but not limited to their agents, servants and/or

           employees' negligence, negligent conduct and negligent breach of their duties proximately caused the


                                                                 27




                                                                                                                            AXIS000328
(Page 70   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page70
                                                                           85ofof85
                                                                                  100

           injuries to Plaintiffs, without any negligence on the part of any Plaintiff contributing thereto.

                  4-427143.       As a direct and proximate result of the negligence of Defendant Capitol, including

           but not limited to their agents, servants and/or employees, Plaintiffs suffered personal injuries and will

           continue to suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and

           suffering, depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

           fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

           medical bills, lost wages, future loss of earnings, and other injuries, without any negligence on the part

           of any Plaintiff contributing thereto.

                  WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Defendant Capitol, finding Defendant Capitol liable to Plaintiffs and awarding Plaintiffs

           compensatory damages in an amount in excess of $75,000.00, together with attorney's fees, costs and

           expenses of this lawsuit and such other relief as the Court may deem proper.

                                             COUNT VII: STRICT LIABILITY
                               (Plaintiffs v. Defendants                -A.O. Smith and Eberly)
                  44:47144.       Plaintiffs incorporate by reference and re-allege the allegations contained in the

           preceding and subsequent paragraphs.

                  -1-4-47145      At all times relevant to this case, Defendants Gapitel-ed4A.O. Smith and Eberly,

           including, but not limited to, their agents, servants and/or employees designed, manufactured,

           assembled, distributed, sold, installed and/or placed in the stream of commerce the Hot Water Heater,

           which werewas defective and unreasonably dangerous for which they are strictly liable.

                  4-4757146.      The Hot Water Heater was:

                                  a)      Defectively designed;

                                  b)      Defectively manufactured, modified, altered and/or converted;

                                  c)      Not for sale for its intended use;



                                                                28




                                                                                                                        AXIS000329
(Page 71   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page71
                                                                           86ofof85
                                                                                  100

                                d)      Lacked functional, proper and necessary safeguards to ensure safe

                                operation;

                                e)      Lacked adequate warnings necessary for safe and proper use;

                                f)      Lacked adequate warnings and instructions to ensure proper application,

                                assembly, installation, maintenance, safe use and the avoidance of foreseeable

                                hazards so as to allow operation of the unit in a safe manner;

                                g)      Did not contain sufficient safeguards, including but not limited to, a

                                shutoff mechanism sufficiently designed and calibrated to prevent the unit from

                                producing and distributing excessive and lethal amounts of carbon monoxide

                                when its exhaust flu is blocked;

                                h)      Did not contain sufficient mechanisms to prevent the unit from being used,

                                adjusted, modified, misused and/or converted in a manner that would produce and

                                distribute excessive and/or lethal amounts of carbon monoxide when its exhaust

                                flu was blocked;

                                i)      Did not contain sufficient, adequate warnings to advise users and those in

                                close proximity to the unit that the unit was defective and unreasonably dangerous

                                in nature or warn of the dangers of operating the unit;

                                j)      Lacked appropriate safety mechanisms to prevent the exhaust flue pipe

                                from becoming dislodged from the unit, thereby allowing the carbon monoxide to

                                improperly be distributed in the Property; and

                                k)      Was defective and unreasonably dangerous and caused and created an

                                unreasonably dangerous condition and threat to persons.

                  4467147.      Defendants Capi-tel-a-mil-A.O. Smith,oci.ELberly.., including, but not limited to, their

           agents, servants and/or employees, placed the Hot Water Heater in the stream of commerce knowing and


                                                              29




                                                                                                                           AXIS000330
(Page 72   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page72
                                                                           87ofof85
                                                                                  100

           expecting, and/or with reason to know that the Hot Water Heater, which they designed, manufactured,

           distributed, supplied, installed and/or sold, if used in particular applications or in close proximity to

           persons, would create an unreasonably dangerous and defective condition unknown to them.

                     4477148.     At the time of the Plaintiffs' injuries, the Hot Water Heater was in substantially

           the same defective and unreasonably dangerous condition as it existed when they-we-reit )/_as designed,

           manufactured, distributed, supplied, sold and/or otherwise placed into the stream of commerce by

           Defendants Gapitel-afid-A.O. Smith and Eberly, including, but not limited to, their agents, servants and/or

           employees.

                     1487.149_    The Hot Water Heater was expected to and in fact was installed in the Property

           without substantial change in its condition, presenting a hazard to users without their knowledge.

                     4-49150.     The Plaintiffs' injuries are a direct and proximate result of the design,

           manufacture, distribution, supply; and sale;                              of the Hot Water Heater which

           created an unreasonably dangerous condition that exposed each sickened Plaintiff to an unreasonable

           risk of injury, harm, and death for which Defendants Gapitel-end--A.O. Smith and Eberly are strictly

           liable.

                     45447151.    The unreasonably dangerous condition created by the Hot Water Heater, which

           rendered it unsafe, unfit, and unreasonably dangerous was known to and/or should have been anticipated

           by Defendants Gapit;e1-and-A.O. Smith and Eberly.

                                  As a direct and proximate result of the conduct of Defendants                 A.O.

           Smith and Eberlv, Plaintiffs suffered personal injuries and will continue to suffer brain damage, brain

           injury, memory deficits, mental anguish, emotional pain and suffering, depression, cognitive and

           emotional deficits, sleep problems, fatigue, severe headaches, mood fluctuations, physical anxiety

           symptoms, decreased interest in usual activities, social withdrawal, and other injuries, with no negligence

           of any Plaintiff contributing thereto.


                                                               30




                                                                                                                         AXIS000331
(Page 73   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page73
                                                                           88ofof85
                                                                                  100

                  WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

           against Defendants G-apitel-extd-A.O. Smith and Eberly, finding Defendants GiApitel-alid-A.O. Smith a fd

           Eberly jointly and severally liable to Plaintiffs and awarding Plaintiffs compensatory damages in an

           amount in excess of $75,000.00, together with attorney's fees, costs and expenses of this lawsuit and

           such other relief as the Court may deem proper.

                                     COUNT VIII: BREACH OF EXPRESS WARRANTY
                                   (Plaintiffs v. Gapi+al—alwiDefendants A.O. Smith and Eberly)
                  .442,153           Plaintiffs incorporate by reference and re-allege the allegations contained in the

           preceding and subsequent paragraphs.

                       15            At all times relevant to this Complaint, Defendants ‘_:,-api-fel--awl-A.O. Smith and

           Eberly expressly warranted that the Hot Water Heater, which was manufactured and sold to be used at

           locations where the sickened Plaintiffs and others were foreseeably known to use this product or be in

           close proximity to the use of this product, and its component parts were of merchantable quality, and the

           product was fit, safe, and in proper condition for the ordinary use for which it was sold, designed,

           manufactured, and/or used.

                  --4-1.55.          In reliance upon such express warranty, consumers and users of the Hot Water

           Heater, such as the Property Defendants and/or the sickened Plaintiffs, used the Hot Water Heater and

           stayed in close proximity to the same, believing that this could be done safely and without risk of injury.

                                     The Hot Water Heater was not of merchantable quality and/or for use, but rather

           was unfit, unsafe and was dangerous in the manner and for the use intended by exposing users and

           individuals near and about the Hot Water Heater to high, dangerous, and potentially lethal levels of

           carbon monoxide which could and did result in injuries.

                  4-54:I 5 ,.
                         aas eda
                                     Defendants Gapit-el-and-A.O. Smith and Eberly, including, but not limited to, their
                                                                         POPEATER AES




           agents, servants and/or employees, knew and/or had reason to know that the Hot Water Heater was



                                                                  31




                                                                                                                            AXIS000332
(Page   74   of     85)


                     Case
                    Case   1:22-cv-00030-DLB Document
                         1:22-cv-00769-BAH    Document70-8
                                                       4-1 Filed
                                                           Filed 01/07/22
                                                                 02/14/24 Page
                                                                          Page74
                                                                               89ofof85
                                                                                      100

             unsafe and potentially could expose persons near the product to risk of injury and/or death.

                      4477158.      As a direct and proximate result of                               Defendant A.O.

             Smith's and Eberly's breach of express warranties, Plaintiffs suffered personal injuries and will continue

             to suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and suffering,

             depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

             fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

             medical bills, lost wages, future loss of earnings, and other injuries, without any negligence on the part

             of any Plaintiffs contributing thereto.

                      WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

             against Defendants C.-apitel-entl-A.O. Smith and Eberly, finding Defendants Gapite,l-aiitl-A.O. Smith_and

             Eberly jointly and severally liable to Plaintiffs and awarding Plaintiffs compensatory damages in an

             amount in excess of $75,000.00, together with attorney's fees, costs and expenses of this lawsuit and

             such other relief as the Court may deem proper.

                                      COUNT IX: BREACH OF IMPLIED WARRANTY
                                 (Plaintiffs v. Defendants                     Smith am.1 .Eberly)
                      4487159.      Plaintiffs incorporate by reference and re-allege the allegations contained in the

             preceding and subsequent paragraphs.

                      159.160.      At all times relevant to this Complaint, Defendants Qvi-401-aild-A.O. Smith and

             Eb
             BEE
                    y marketed, sold, and distributed the Hot Water Heater and knew of the use for which the product

             was intended and impliedly warranted the product to be of merchantable quality and safe and fit for such

             use.

                      -1407161      Plaintiffs reasonably relied upon the skill, judgment, knowledge, and

             representation of Defendants Gai.*14el-affd-A.O. Smith and Ebe v as to whether it would be safe to use

             the Hot Water Heater, and that it was indeed of merchantable quality and safe and fit for its intended



                                                                32




                                                                                                                          AXIS000333
(Page   75   of     85)


                     Case
                    Case   1:22-cv-00030-DLB Document
                         1:22-cv-00769-BAH    Document70-8
                                                       4-1 Filed
                                                           Filed 01/07/22
                                                                 02/14/24 Page
                                                                          Page75
                                                                               90ofof85
                                                                                      100

             use.

                       4417 I62.    Plaintiffs reasonably relied upon the skill, judgment, knowledge, and

             representation of Defendants Gapi-tel-afid--A.O. Smith and Eberly, including, but not limited to, theifits

             agents, servants and/or employees in selecting the Hot Water Heater for use.

                       142.1.63.    Contrary to the implied warranties, the Hot Water Heater was not of merchantable

             quality or safe or tit for its intended use, because the product was and is unreasonably dangerous and

             unfit for the use for which it was intended.

                       tos   64.    Defendants Gapi,tel-afid-A.O. Smith and Eberly., including, but not limited to, their

             agents, servants and/or employees, knew and/or had reason to know that the Hot Water Heater was

             unsafe and potentially could expose persons near the product to risk of injury and/or death.

                       4-447165.    As a direct and proximate result of the                             Defendant A.O.

             Smith's and Ebedv's breach of implied warranties, Plaintiffs suffered personal injuries and will continue

             to suffer brain damage, brain injury, memory deficits, mental anguish, emotional pain and suffering,

             depression, cognitive and emotional deficits, sleep problems, fatigue, severe headaches, mood

             fluctuations, physical anxiety symptoms, decreased interest in usual activities, and social withdrawal,

             medical bills, lost wages, future loss of earnings, and other injuries, without any negligence on the part

             of any Plaintiffs contributing thereto.

                       WHEREFORE, Plaintiffs demand that this Court enter judgment in favor of Plaintiffs and

             against                          Dqf.enfipt A.O. Smith, finding Defendants Capitol ald A.O. Smith, nd

             Eberly jointly and severally liable to Plaintiffs and awarding Plaintiffs compensatory damages in an

             amount in excess of $75,000.00, together with attorney's fees, costs and expenses of this lawsuit and

             such other relief as the Court may deem proper.

                                                COUNT X: BREACH OF LEASE
               (Wayne Padmore, Elizabeth Padmore, K      P          ,Z P         e, T       P        and
                   Erica Baker vs. Gates, Hudson & Associates, Inc., Atlas West End Silver Hill LLC,

                                                                 33




                                                                                                                            AXIS000334
(Page 76   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page76
                                                                           91ofof85
                                                                                  100

                                       and Atlas West End Silver Hill Manager LLC)

                  4-6-571 66.      Wayne Padmore, Elizabeth Padmore, K               P        , Z    P        , T

           P          and Erica Baker ("Tenants") repeat and re-allege each and every allegation contained in the

           preceding and subsequent paragraphs of this Complaint as if fully set forth herein.

                  4(.467167.       Tenants entered into contracts to lease their respective apartment units at the

           Property pursuant to their lease agreements.

                   167.168.        Tenants had lease agreements in place with Defendants Gates, Hudson &

           Associates, Inc., Atlas West End Silver Hill LLC and Atlas West End Silver Hill Manager LLC

           ("Lessors"), whereby Tenants would tender monthly rent payments to Lessors, and in return, Lessors

           were to provide a habitable residence. The lease agreements set forth contractual obligations for Lessors,

           which included, but were not limited to, maintaining fixtures, hot water, heating and A/C equipment;

           substantially complying with applicable federal, state, and local laws regarding safety; and make all

           reasonable repairs; as well as installing and maintaining the Hot Water Heater in a manner that did not

           harm Tenants.

                  4-687169.        Tenants did tender monthly rental payments to Lessors pursuant to their respective

           lease agreements.

                  4-697170.       Lessors materially breached the lease agreements in place with Tenants-4>y by,

           inter alia (a) installing and/or operating a venting system that did not maintain a positive air flow

           adequate to remove flue or vent gasses from the Hot Water Heater to the outside atmosphere; (b)

           installing or maintaining a draft system which did not prevent leakage of flue or vent gases into the

           interior of the Property; (c) failing to provide for an effective interlock system to prevent the flow of fuel

           to the Hot Water heater when the mechanical draft system was not performing; (d) failing to properly

           inspect or maintain the Hot Water Heater so that it would operate without producing excessive amounts

           of carbon monoxide; (e) failing to properly install, inspect, maintain and/or repair the Hot Water Heater's


                                                                34




                                                                                                                            AXIS000335
(Page   77   of   85)


                   Case
                  Case   1:22-cv-00030-DLB Document
                       1:22-cv-00769-BAH    Document70-8
                                                     4-1 Filed
                                                         Filed 01/07/22
                                                               02/14/24 Page
                                                                        Page77
                                                                             92ofof85
                                                                                    100

             vent ducts and condensate lines; (f) failing to comply with local and state, and/or federal laws requiring

             the Hot Water Heater to be interlocked so that they cannot operate without proven airflow; (g) failing to

             install carbon monoxide detectors on the premises in accordance with Maryland State law and the

             Building Code; (h) failing to comply with the Hot Water Heater manufacturer's maintenance and

             inspection instructions; (i) intentionally disabling the carbon monoxide detector that had alarmed to the

             presence of carbon monoxide in Ms. Baker's unit; (j) failing to investigate what caused Ms. Baker's

             carbon monoxide detector to alarm; and (k) failing to evacuate the Property after Ms. Baker's carbon

             monoxide detector alarmed.

                    174:171.       As a result of Lessors' breach, Tenants suffered serious harm as more thoroughly

             described above and below.

                    WHEREFORE, Tenants demand that this Court enter judgment in favor of Tenants and against

             Lessors, finding Lessors jointly and severally liable to Tenants and awarding Tenants compensatory

             damages in an amount in excess of $75,000.00, together with punitive damages, attorney's fees, costs

             and expenses of this lawsuit and such other relief as the Court may deem proper.

                                     COUNT XI: PRIVATE ACTION FOR NUISANCE
               (Wayne Padmore, Elizabeth Padmore, K      P          ,Z P          ,T        P        and
                   Erica Baker vs. Gates, Hudson & Associates, Inc., Atlas West End Silver Hill LLC,
                                    and Atlas West End Silver Hill Manager LLC)

                    4-747172.       Tenants incorporate by reference and re-allege the allegations contained in the

             preceding and subsequent paragraphs.

                    4-72r.173.     Lessors intended to cause, and/or set into motion forces which caused, the Hot

             Water Heater to continue to operate while spewing carbon monoxide with actual knowledge of the

             presence of carbon monoxide in the Property.

                    47-3-174,      Lessors intended to cause the Hot Water Heater to continue to operate while

             spewing carbon monoxide when they ignored the carbon monoxide detector that had alarmed to the


                                                                35




                                                                                                                          AXIS000336
(Page 78   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page78
                                                                           93ofof85
                                                                                  100

           presence of carbon monoxide coming from the unit, ultimately disabling the detector so that it would no

           longer function.

                  44-1,175.       Lessors' intentional and deliberate acts caused the Hot Water Heater to continue

           to operate while spewing carbon monoxide at increasing levels into the mechanical room, into the

           Tenants' units, and made contact with them by traveling into their lungs.

                  4-775,176.      Such intentional and deliberate acts by Lessors and/or agents, servants and/or

           employees of Lessors interfered with the Tenants' use and enjoyment of their properly by permeating

           carbon monoxide throughout the units and the Property's common areas, and thereby causing permanent

           sickness, ill health and brain damage.

                  4"4671 77.      The interference with Tenants' use and enjoyment of the Property was real,

           substantial and unreasonable and performed with actual malice, because it led to not only the Tenants'

           loss of the use and enjoyment of their property but also Tenants' ill health, permanent brain damage and

           sickness requiring a lifetime of care.

                  4-7-7,178.      As a result of the intentional and deliberate actions of Lessors and/or the agents,

           servants, and/or employees of Lessors, Tenants lost the use and enjoyment of their property and also

           suffered personal injuries and will continue to suffer brain damage, brain injury, memory deficits, mental

           anguish, emotional pain and suffering, depression, cognitive and emotional deficits, sleep problems,

           fatigue, severe headaches, mood fluctuations, physical anxiety symptoms, decreased interest in usual

           activities, and social withdrawal, medical bills, lost wages, future loss of earnings, and other injuries,

           without any negligence on the part of any Plaintiff contributing thereto.

                  478,179.        As a result, Tenants suffered physical injuries, pain and suffering, severe mental

           anguish, humiliation, disgrace, and loss of dignity, as well as monetary losses for medical and related

           expenses, lost wages, and other costs and expenses.

                  WHEREFORE, Tenants demand that this Court enter judgment in favor of Tenants and against


                                                              36




                                                                                                                        AXIS000337
(Page 79   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page79
                                                                           94ofof85
                                                                                  100

           Lessors, finding Lessors jointly and severally liable to Tenants and awarding Tenants compensatory

           damages in an amount in excess of $75,000.00, together with punitive damages, attorney's fees, costs

           and expenses of this lawsuit and such other relief as the Court may deem proper.

                                            COUNT XII: TRESPASS
             (Wayne Padmore, Elizabeth Padmore, K      P          ,Z P          ,T        P        and
                 Erica Baker vs. Gates, Hudson & Associates, Inc., Atlas West End Silver Hill LLC,
                                  and Atlas West End Silver Hill Manager LLC)
                       ,180.      Tenants incorporate by reference and re-allege the allegations contained in the

           preceding and subsequent paragraphs.

                  44(4,. I 81.    Tenants had the right to possess their units in the Property, and thereby, had

           possessory interest in their units in the Property.

                  444,182.        The Lessors' acts and omissions resulting in the release of carbon monoxide, and

           their failure to remediate the release, was intentional and done with actual malice, causing Tenants' units

           to be contaminated with carbon monoxide.

                  4427183.        The carbon monoxide present in the Tenants' units came from the Hot Water

           Heater operated by Lessors.

                        184.      The invasion and presence of the carbon monoxide in the Tenants' units was

           caused by Lessors without consent, permission or authority from Tenants.

                  444,185.        The mere presence of the carbon monoxide in the Tenants' units constitutes

           trespass.

                  X1.86.          The Lessors' past and continuing trespass upon the Property proximately caused

           Tenants to suffer personal injuries and to continue to suffer brain damage, brain injury, memory deficits,

           mental anguish, emotional pain and suffering, depression, cognitive and emotional deficits, sleep

           problems, fatigue, severe headaches, mood fluctuations, physical anxiety symptoms, decreased interest

           in usual activities, and social withdrawal, medical bills, lost wages, future loss of earnings, and other

           injuries, without any negligence on the part of any Plaintiff contributing thereto.

                                                                 37




                                                                                                                         AXIS000338
(Page 80   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page80
                                                                           95ofof85
                                                                                  100

                  WHEREFORE, Tenants demand that this Court enter judgment in favor of Tenants and against

           Lessors, finding Lessors jointly and severally liable to Tenants and awarding Tenants compensatory

           damages in an amount in excess of $75,000.00, together with punitive damages, attorney's fees, costs

           and expenses of this lawsuit and such other relief as the Court may deem proper.

                                                   COUNT             NEGLIGENCE
                                                         {Plaintiffs v. EberIvi
                   187.    Plaintiffs incorporate by reference and re-allege the allegations contained in the preceding

           and subsequent paragraphs.

                  188.     At all times relevant herein. Defendant Eberly. including. but not limited to.. their agents.

           servants and/or emplOVCCS, were in the busineSS of selli g. distributing, and installing,. maintaining,

           altering. and repairing water heaters and related flue venting, condensate lines and associated machinery.

                   189.    Defendant Eberly, including but not limited to €heir agents, servants and/or employees,

           marketed, sold and performed the installation of the Hot Water Heater, including. hut not limited to, its

           flu venting system, condensate lines and a.ssociated .machinery as well as performed it spections.

           modifications, alterations. and repairs to the Hot Water Heater. its flu venting system, condensate lines

           and associated machi rier,y,xti or to, during and/or after the Hot Water Heater's installation.

                   190.    While staying at the Property. Plaintiffs were consumers who ₹ sed the Hot Water Heater

           for hot water and were in close proximity to its aeration

                   191.    It was foreseeable to Defendant Eberly. including but not limited to their agents, servants

           and/or employees, that if the Hot Water Heater was used with the method of installation used at the

           Propoy, or if it was used in a situation where persons would be in close proximity to it, it would result

             ...............c9t1diti ....gittt.WPW.d.bt114zArc191 . ... others.

                   192.    At all relevant times herein. Defendant Eberly. includinz but not limited to their agents,

           servants and/or employees, ;wed.Plaintiffs a duty to se reasonable c re in                        inspec ing,



                                                                    38




                                                                                                                           AXIS000339
(Page 81   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page81
                                                                           96ofof85
                                                                                  100

           *nos irvirtt.,„ repairing. and maintaining the Hot Water Heater and related flue venting. condensate lines

           and associated machinery.

                  193.    Defendant Eberly, includipg, but not limited to. their agents, servants and/or employees,

           breached their duty of care owed to Plaintiffs and other users of the hot water heating,.system at the

           P                                     P4igg1111 11.141YA                                  ./121 lirnitc..l to. .... f911PYviaa:.

                                    (a)          Failing to use reasonable care to install inspect, rejoir modify_ and/or

                          maintain the Hot Water Heater flue venti qs., condensate lines and associated machinery

                          ina mamer that              ................   ................1111.1A..                            .sig'kclivAt 40121.112 t

                          unreasonably.dangerous;,

                                    ay           Failing €o use reasonable care to adeottately warn foreseeable users,

                          Purchasers and individuals such as the Plaintiffs who would be in close proximity to

                          and/or impacted by the operation of the Hot Water Heater. of the dangers and potential
                           x

                          4 11gers. that........                         TfADP46:..fglitsf4,'41?1QP414(.0r.                                   cArti.tcliPTI

                          with the Hot Water Heater and/or its use. including but not limited to carbon monoxide

                               oisonin;,

                                    te)                                                   z.scil r correct the                 is and/or           ttero.t

                          condition existing with the Hot Water Heater and related flue venting, condensate lines,

                          and associated machinery:

                                    (d)          Failing to comply with and/or use reasonable care to comply with the

                          standards of care, including accepted industry standards, connected to €he installation and

                          maintenance of the Hot Water Heater and related flue yentinik condensate lines,,and

                          associated machinery:

                                    Lc.1......      ........                                                         .           ..........rAtAla0

                          aditistment. and maintenance of the Hot Water Heater. includimi. but not,limited to, how


                                                                             39




                                                                                                                                                              AXIS000340
(Page 82   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page82
                                                                           97ofof85
                                                                                  100

                          to respond to fault codes generated by the Hot Wa€er- Heater's control system:

                                                       Faili n2 to use reasonabi cart to timelv,recall,ixinetr:1          otherwise prevent

                          the e.ominned use ot. the Hot ‘'titer Heater installed in a del active and or unreasonalk

                          JAnavrous condi tioit;
                                 STOUS




                                   (g).                Failing to use reasonable care to investigate and correct the cause of water

                          a.ccumulatingin the Hot Water Heater's condensate lines;
                                         eoore

                                                 ean



                                                       Failure to use reasonable care to make the Hot Wa€er Heater safe and/or
                                   Sas




                          incorparate safeauards to                         ...................WAtvr ...[ .       and   ................................

                          OPOP1154.t ......................................                                   .                  PPfeAISQ1161.31..

                          fianoerous ,incluf.ii no but not limitedio, the.accumulgion of wAter in the condensate lines

                          the blockage of the flu, the production of dangerous and/or lethal levels of carbon

                          monoxide and/or the ability of the flu Ripe to become disconnected while operating;

                                                       Failina to _provide adequate warnings regarding known or reasonably

                          foreseeable misuses of the Hot Water Heater or instructions regarding the safe use of the

                          Hot Water Heater:

                                                 )     I raiiin. to mopeds, install and maintain the Hot Water Heater in a manner

                          so as not to render it defective and/or unreasonably dangerous: and

                                   (k)                 Failing to install and/or maintain the Hot Water €Ieater in the manner

                          consistent with the applicable codes, regulations. industry standards, and manufacturer's

                          specifications.

                  194.    Defendant Eberly. including but not limited to their agents, servants and/or employees'

           negligence, negligent conduct and negligent breach of their duties proximately caused the injuries to

           Plaintiffs. without    Koestism curl Stlq.art (.4skai.Ba:uxti= qq11triha title .........
                  195.    . s a direct, and proximate rest& of the negligence of Defendant Eberly, including but not


                                                                             40




                                                                                                                                                           AXIS000341
(Page 83   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page83
                                                                           98ofof85
                                                                                  100

           limited to their agents, servants and/or employees, Plaintiffs suffered personal injuries and will continue

           to suffer brain ama =e brain incur        emorti   deficits, mental anc,uish emotional a' and sufferinu

           de Tession Co iritiye. and emotional deficits sire          roblerris fatioue severe     ead •       mood

           fluctuations, physical anxiety symptoms, decreased interest in. usual activities. and social withdrawal„

           medical bills, lost waoe, future loss of earninos. and other injuries, without any neg ioence on thepart

           of aey Plaintiff contributing thereto.

                  WHEREFORE Plaintiffs demand that this Court enter ju4 vent. in favor of Plaintiffs and.

           Against Defendant Eberly, finding Defendant Eberly liable to Plaintiffs and awarding, Plaintiffs

           compensatoadarnays in an a        OUI    in excess of $75,00.00 too-ether with attorney ' s fees, costs and

           ex_penses of this lawsuit and such other -elief as the Court . av deem proper.



                                                               Respectfully submitted,



                                                               William H. Murphy, III — 04-AIS# 0404060002
                                                               Nicholas A. Szokoly — (27PFA.I.S# 0312170297
                                                               Andrew K. O'Connell — (W-FAIS #0106200194
                                                               Murphy, Falcon & Murphy
                                                               One South Street, 30t1i Floor
                                                               Baltimore, Maryland 21202
                                                               Telephone: (410) 951-8744
                                                               Facsimile: (410) 539-6599
                                                               nick.szokoly@murphyfalcon.corn
                                                               billy.murphy@murphyfalcon.com
                                                               andrew.oconnell@murphyfalcon.com



                                                               Alan J. Mensh — >-P S_# 9212160224
                                                               Ashcraft & Gerel, LLP
                                                               120 E. Baltimore Street, Suite 1802
                                                               Baltimore, Maryland 21202
                                                               Telephone: (410) 385-3280
                                                               Facsimile: (410) 547-1261
                                                               AMensh@ashcraftlaw.com


                                                                41




                                                                                                                         AXIS000342
(Page 84   of   85)


                 Case
                Case   1:22-cv-00030-DLB Document
                     1:22-cv-00769-BAH    Document70-8
                                                   4-1 Filed
                                                       Filed 01/07/22
                                                             02/14/24 Page
                                                                      Page84
                                                                           99ofof85
                                                                                  100


                                                               Attorneysfor Plaintiffs




                                                    JURY TRIAL DEMAND

                  Plaintiffs request a trial by jury in this matter.




                                                               Andrew K. O'Connell —     40106200194
           Dated Mape41-4-57-2,C420Suly    i       2021
                                               4




                                                                 42




                                                                                                       AXIS000343
(Page 85   of   85)

                  Case
                Case    1:22-cv-00030-DLBDocument
                     1:22-cv-00769-BAH    Document 4-1 Filed
                                                  70-8 Filed 02/14/24
                                                             01/07/22 Page 85
                                                                           100ofof85100

                                             CERTIFICATE OF SERVICE

                    I HEREBY CERTWY„               this  day of July 2021, that a copy of the foregoing Second
                ended Complaint and Demand for . ur _.=.ri alalong with a redlined copy was sued via email and
           airs€-class mail, postage prepfijd i12011"

           Jennifer r.                                     Dayigl J ()Mon Esq.,
                                        bi
                                      Pes
           DeC:aro. Doran, Sicilian°. Gallagher &          Jessica P. Butkera, Esq.
             DeBlasis., LLP                                Delhi/ & Ell iston,,,LLP
           17251 Melford Boulevard,. Suite 200                           Street Suite 1400
           Bowie, Maryland 20715                           BaltiMore Maryland 2.1201
           jking@decarodoran.Co#r                          dquizei.p,dehay.corn
           AnarnevOn. Atlas West End ,Silver kfiil., LIE   jbutkera dehay.00111
           and Atlas West End Silver      Manager, 11,C    Attorneyv for A.O. Smith Corporation


                 A3k/c121.41tPL,.
           N.L.A0r.e:11 .............................      Mif-Mitti MAriaging Partner
           Niles Barton & Wilmer LI,P.                     Sophia U. _hind.
           111 South Calvert Street. Suite 1400            Wilson Elser Moskowitz Edelman & Dicker LI,P
               ti more. MI) 21202                          8444 Westpark Drive - Suite 510
           babuckwalter@milesharton.COM                    McLean, VA 22102-5102
           Attorneysjar Defendants Gates Hudson            lasoftwatersiii2wilsonelser coin
           Associates, Danielle Samuels, and Andrew        sophia.jafrul@wilsonelser.com
           Ferrell                                         AttoryleysfiaLcqp.kg &ger .WprkLipc,.




                                                             Andrew            — AIS it01 i200194
                                                                        O'Connell




                                                           43




                                                                                                                 AXIS000344
